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               1:24-cv-06284
                  MDL No. 3121
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                                           95-3 07/24/24
                                                  Filed 07/24/24
                                                           Page 1 Page
                                                                  of 65 PageID
                                                                        3 of 67 #:1




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS


                                                             Case No. 1:24-cv-6284
 Peak Chiropractic Health and Wellness LLC,
 on behalf of itself and a class of all others
 similarly situated,
                                                             Jury Trial Demanded
                          Plaintiff,
                                                             CLASS ACTION COMPLAINT
                   v.
     MultiPlan, Inc.,
                          Defendant.



          Plaintiff Peak Chiropractic Health and Wellness LLC brings this Class Action Complaint

individually and on behalf of a class of all others similarly situated (collectively, “Plaintiffs”)

against Defendant MultiPlan, Inc. (as defined herein), upon information and belief, and alleges

the following:

I.        Introduction

          1.        Defendant MultiPlan is a data analytics and cost management company that

reprices out-of-network health insurance claims on behalf of health insurance companies and

self-insured payors in the United States.

          2.        MultiPlan also facilitates a conspiracy among insurers, including the 15 largest

in the country, to suppress the payments that healthcare providers, like Plaintiff and the Class (as

defined herein), receive for providing out-of-network health care services to patients. The scheme

works like this. MultiPlan charges Insurers for subscriptions. In return, MultiPlan provides claims

handling and repricing services, i.e., it negotiates with providers the amounts they will receive

from health care payors for out-of-network services. On rare occasions, MultiPlan handles these

                                                   1
      Case:
         Case
            1:24-cv-06284
               MDL No. 3121
                          Document
                              Document
                                   #: 1 Filed:
                                        95-3 07/24/24
                                               Filed 07/24/24
                                                        Page 2 Page
                                                               of 65 PageID
                                                                     4 of 67 #:2




negotiations manually. But the vast majority of the time, MultiPlan uses its “analytics based”

services to set the price that subscribing insurers will pay for a given service. These analytics-

based services include MultiPlan’s “repricing” algorithms, such as Data iSight and Viant.

       3.         The repricing algorithms that MultiPlan uses to set prices rely on a large

database of claims information to which all of MultiPlan’s Co-Conspirators (as defined herein)

contribute their sensitive, proprietary and non-public claims information on a real-time basis.

       4.         These Co-Conspirator insurers rely on MultiPlan’s repricing algorithms to set

the reimbursement rates for out-of-network healthcare claims while knowing that their

competitors are doing the same thing.

       5.         Co-Conspirators could not agree with one another on payment levels based on

directly shared, non-public data and information, including proprietary pricing information; that

would obviously be illegal price fixing among competitors. But it is no more legal for payors to

launder their price fixing through MultiPlan.

       6.         The prices MultiPlan extracts from providers on behalf of the Co-Conspirators

are take-it-or-leave-it offers that providers must accept lest they face extended delays or the risk

of receiving no payment at all.

       7.         And MultiPlan extracts prices from providers that are dramatically lower than

what providers bill—as low as 3-5% of the billed amount—and lower than providers need to

sustain their practices. The rates are so low that they contribute to a national crisis of independent

and local health care providers closing up shop, while curtailing the ability of others to expand

the care and services they provide.

       8.         When MultiPlan pays a healthcare provider just a fraction of the provider’s


                                                   2
         Case:
            Case
               1:24-cv-06284
                  MDL No. 3121
                             Document
                                 Document
                                      #: 1 Filed:
                                           95-3 07/24/24
                                                  Filed 07/24/24
                                                           Page 3 Page
                                                                  of 65 PageID
                                                                        5 of 67 #:3




reasonable rate for its services, MultiPlan then rewards itself with a percentage of the “savings”

its algorithm achieved (the Co-Conspirator insurers get a cut too). Meanwhile, MultiPlan turns

around and charges employers and others that are ultimately on the hook for health insurance

costs a substantial “processing fee” for reducing this amount. MultiPlan thus faces incentives to

pay providers as little as possible. The less money an insurer pays to a provider, the more money

MultiPlan makes. As a result, MultiPlan and its Co-Conspirators extract and pocket as profit

payments that can exceed the unlawfully diminished amount paid to the provider for providing

the medical care.

          9.        If any individual insurer were to offer reimbursement rates as low as MultiPlan

offers, providers would simply stop accepting patients who carry such insurance. Through the

scheme, MultiPlan assures each participating insurer that none of its competitors will do any

better. This extinguishes the competitive mechanism that compels health care payors to pay

reasonable reimbursement rates. While providers could turn away one insurer, they cannot turn

away them all. Because the top 15 insurers in the United States use MultiPlan’s repricing services,

refusal to accept patients from those insurers would be fatal to many healthcare providers’ bottom

lines.

          10.       While the conspiracy enables MultiPlan and its Co-Conspirators to force

providers to swallow reimbursement rates that can barely cover their costs, there is no benefit to

consumers or to employers who often bear the expense of health insurance, nor is there any

benefit to competition. MultiPlan and its Co-Conspirators use the scheme detailed herein to

squeeze money out of healthcare providers like Plaintiffs and the Class, to no one’s benefit but

their own.


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      Case:
         Case
            1:24-cv-06284
               MDL No. 3121
                          Document
                              Document
                                   #: 1 Filed:
                                        95-3 07/24/24
                                               Filed 07/24/24
                                                        Page 4 Page
                                                               of 65 PageID
                                                                     6 of 67 #:4




II.    Parties

       A.        Plaintiff

       11.         Plaintiff Peak Chiropractic Health and Wellness LLC (“Plaintiff” or “Peak

Chiropractic”) is an Alabama corporation with its principal place of business at 3054 Morgan

Road, Bessemer, AL, 35022. On information and belief, Plaintiff has received out-of-network

reimbursements from insurers that subscribe to MultiPlan’s repricing services, which

reimbursements were suppressed below a competitive rate by the conduct described herein.

       B.        Defendant

       12.         Defendant MultiPlan, Inc., is a New York corporation with its principal place

of business at 115 Fifth Avenue, 7th Floor, New York, New York 10003. MultiPlan Corporation,

a publicly traded company, is the parent company of MultiPlan, Inc. and the various entities that

carry out MultiPlan’s operations.

       13.         MultiPlan Corporation was formerly known as Churchill Capital Corporation

III, which was a special-purpose acquisition company incorporated in Delaware and formed to

take MultiPlan, Inc., public. Churchill Capital Corporation III changed its name to MultiPlan

Corporation after it and its related entities acquired MultiPlan, Inc., and its related entities in

October 2020. Since MultiPlan’s public offering, private equity firm Hellman & Friedman and

the Saudi Arabian sovereign wealth fund have become two of its largest shareholders.

       14.         In 2010, MultiPlan acquired Viant Holdings, Inc., a healthcare cost management

company.

       15.         In 2011, MultiPlan acquired National Care Network, LLC.

       16.         Unless otherwise specified, this Complaint refers to MultiPlan, Inc., MultiPlan



                                                  4
       Case:
          Case
             1:24-cv-06284
                MDL No. 3121
                           Document
                               Document
                                    #: 1 Filed:
                                         95-3 07/24/24
                                                Filed 07/24/24
                                                         Page 5 Page
                                                                of 65 PageID
                                                                      7 of 67 #:5




Corporation, Churchill Capital Corporation III, Viant Holdings, Inc., Viant Payment Systems,

Inc., National Care Network, LP, and National Care Network, LLC, and any other MultiPlan

parents, subsidiaries or affiliates that may be involved in the conduct described herein

collectively as “MultiPlan.”

        C.     Co-Conspirators

        17.      The conspiracy includes any person or entity that has entered into an out-of-

network repricing agreement with MultiPlan.

        18.      Each healthcare insurance company that has executed an out-of-network

repricing agreement with MultiPlan (the “Co-Conspirators”) has participated in, and performed

acts and made statements in furtherance of, the conspiracy. MultiPlan is jointly and severally

liable for all of the acts and omissions of its Co-Conspirators, whether or not named in this

complaint.

        19.      As set forth herein, the Co-Conspirators includes virtually every major health

care insurance payor in the United States.

III.    Jurisdiction and Venue

        20.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1337 because this action arises out of Section 1 of the Sherman Antitrust Act, 15 U.S.C. §§ 1 and

3, and Sections 4 and 16 of the Clayton Antitrust Act, 15 U.S.C. §§ 15 and 26.

        21.      This Court also has subject matter jurisdiction over this lawsuit under the Class

Action Fairness Act, 28 U.S.C. § 1332(d)(2) because this is a proposed class action in which: (1)

there are at least 100 Class members; (2) the combined claims of Class members exceed

$5,000,000, exclusive of interests and costs; and (3) Defendant and at least one Class member



                                                5
      Case:
         Case
            1:24-cv-06284
               MDL No. 3121
                          Document
                              Document
                                   #: 1 Filed:
                                        95-3 07/24/24
                                               Filed 07/24/24
                                                        Page 6 Page
                                                               of 65 PageID
                                                                     8 of 67 #:6




are domiciled in different states.

       22.        Venue is proper in this District pursuant to Section 12 of the Clayton Act, 15

U.S.C. § 22, and 28 U.S.C. § 1391, because Defendant MultiPlan maintains business facilities,

has agents, transacts business, and is otherwise found within this District and certain unlawful

acts alleged herein were performed and had effects within this District.

       23.        This Court has personal jurisdiction over Defendant under Section 12 of the

Clayton Act, 15 U.S.C. § 22 and Illinois’s long-arm statute, 735 Ill. Comp. Stat. 5/2-209(a).

Defendant, directly or through its divisions, subsidiaries, predecessors, agents, or affiliates, may

be found in and transact business in Illinois, including by offering health insurance plans in the

state; sending confidential, proprietary claims data concerning claims for out-of-network

healthcare services provided in Illinois to MultiPlan for use in MultiPlan’s database; and using

MultiPlan and its claim repricing tools to reprice, pay, and negotiate reimbursements for out-of-

network commercial health insurance claims arising from out-of-network healthcare services

provided in Illinois.

IV.    Factual Allegations

       A.      The PPO Value Proposition

       24.        Most commercial health insurance plans fall into one of two buckets: Health

Management Organizations (“HMOs”) and Preferred Provider Organizations (“PPOs”).

       25.        An HMO is a lower cost, but more rigid, option. Typically, HMO care is

available only to the network’s in-network providers, except in emergencies. The tradeoff for this

limited choice is typically a lower premium.

       26.        A PPO can be more expensive, but offers more flexibility. A PPO tends to have



                                                  6
      Case:
         Case
            1:24-cv-06284
               MDL No. 3121
                          Document
                              Document
                                   #: 1 Filed:
                                        95-3 07/24/24
                                               Filed 07/24/24
                                                        Page 7 Page
                                                               of 65 PageID
                                                                     9 of 67 #:7




a larger network of providers, who agree to provide care at contracted rates in exchange for being

marketed to the plan’s members as “in-network.” PPOs steer their subscribers to in-network

providers by offering lower co-pay or co-insurance obligations.

        27.       But PPO subscribers also have the option of seeing providers outside of their

network. This enables a subscriber to secure care that no in-network provider offers, or at a time

and location that is more convenient to them. While a subscriber often faces a higher co-pay or

co-insurance obligation for out-of-network providers, or the services might affect a subscriber’s

deductible differently, this flexibility makes PPO plans appealing.

        28.       This crucial difference between PPO and HMO plans is one reason that

subscribers are willing to pay more for PPO plans. According to a recent study by the Kaiser

Family Foundation, PPOs are the most common type of employer-provided healthcare plan,

covering 47% of all covered employees. Yet they are also the most expensive.

        29.       When a PPO subscriber sees a provider on an out-of-network basis, because

there is no applicable insurer contract rate, a provider will submit an invoice to the insurer and

then negotiate with the insurer to be paid for its services. But a provider does not need to accept

all patients; depending on the context, a provider may refuse to accept patients who are out-of-

network if they carry coverage from an insurer that is known to deny providers a reasonable rate

for their services.

        30.       In a competitive market, PPO plans would offer reasonable rates to providers

for out-of-network care, in order to retain their subscribers’ access to these providers.

        B.      The Shift Away from “Usual, Customary and Reasonable” Rates

        31.       Historically, each Co-Conspirator decided how much to pay for out-of-network


                                                  7
        Case:
           Case
              1:24-cv-06284
                 MDL No. 3121
                            Document
                               Document
                                     #: 1 95-3
                                          Filed: 07/24/24
                                                 Filed 07/24/24
                                                          Page 8Page
                                                                 of 65 10
                                                                       PageID
                                                                          of 67 #:8




services unilaterally and independently.

         32.      Insurers determined reimbursement rates for out-of-network care by reference

to a benchmark referred to as the “Usual, Customary, and Reasonable,” or “UCR,” rate. A charge

is considered “usual” if it represents a healthcare provider’s usual charge for a specific medical

procedure. It is “customary” if it falls within a range of fees that most healthcare providers in the

relevant geographic area charge for that procedure. And it is “reasonable” if it is both usual and

customary, or if it is otherwise justified because of special circumstances. Out-of-network

reimbursements were commonly expressed as a percentage of the UCR rate; a common

reimbursement amount was 80% of UCR.

         33.      Databases of UCR rates were available from two companies. First, the Health

Insurance Association of America, an insurance industry trade association, developed a database

called the Prevailing Healthcare Charge System (“PHCS”) beginning in 1974. 1 Second,

Medicode maintained the Medical Data Research (MDR) database. Healthcare providers and

insurers would individually consult either of these databases, or both, to determine rates for

reimbursement of out-of-network care.

         34.      Despite the incentive to pay reasonable reimbursement amounts for out-of-

network care in order to preserve their subscribers’ access to a broad universe of providers,

insurers came to view out-of-network payments as a “pain point” and “major area of concern”

cutting into their profits. So payors employed various tactics to decrease how much they paid for

out-of-network services.

         35.      When acting alone, however, their tactics failed. In 2015, UnitedHealthcare (a


1
    MultiPlan acquired PHCS in 2006.

                                                  8
      Case:
         Case
            1:24-cv-06284
               MDL No. 3121
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                             Document
                                   #: 1 95-3
                                        Filed: 07/24/24
                                               Filed 07/24/24
                                                        Page 9Page
                                                               of 65 11
                                                                     PageID
                                                                        of 67 #:9




subsidiary of UnitedHealth Group, Inc. (“UnitedHealth”)) settled two lawsuits—one for $11.5

million and one for $9.5 million—that it underpaid doctors and delayed or denied payment to

them, including by using automated software that improperly adjudicated healthcare claims. This

litigation was one avenue providers had available to them to push back on improper

underpayments.

       36.       Another option providers used to push back against insufficient reimbursement

for out-of-network care was to refuse to accept patients for non-emergency care who carried

coverage from insurers who did not pay enough. This operated as a competitive constraint that

enabled insurers to differentiate themselves, and ensure that providers like Plaintiff and the Class

would receive reasonable compensation for the medical care they provided.

       37.       But the insurers were not happy. To confront these competitive restraints on

their market power, commercial health insurers realized that they must act collectively to

suppress out-of-network reimbursement rates.

       C.       Insurers Attempt to Fix Prices Through Ingenix

       38.       In the late 1990s, UnitedHealth’s subsidiary, Ingenix, purchased the two leading

databases for UCR reimbursement rates, PHCS and Medicode’s MDR. Using these resources,

Ingenix created schedules to help its users—including not only UnitedHealth but also its large

competitors, including Aetna and Cigna—to determine their reimbursement rates for out-of-

network care.

       39.       In 2008, however, the New York Attorney General (“NYAG”) began a year-

long investigation of Ingenix and its use by commercial insurance providers.

       40.       The investigation revealed that competing health insurers were sharing detailed


                                                  9
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 10Page
                                                             of 65 12
                                                                   PageID
                                                                      of 67 #:10




information on their out-of-network claims with Ingenix for it to calculate out-of-network

reimbursement rates for commercial health insurers. Ingenix’s database, according to the

investigation, resulted in underpayments of 10 to 25% for out-of-network claims.

       41.        In January 2009, several insurers settled with the NYAG. UnitedHealth agreed

to shut down the Ingenix database and contribute $50 million toward the creation of a new,

independent database, FAIR Health, that would house more aggregated information but did not

raise the same sort of anticompetitive issues that Ingenix had. UnitedHealth agreed to use FAIR

Health for a period of five years. Aetna agreed to end its relationship with Ingenix and pay $20

million toward FAIR Health’s development. Cigna paid $10 million. The next month, the insurer

WellPoint, Inc. agreed to stop using Ingenix and contribute $10 million to FAIR Health.

       42.        Private class action litigation also led to substantial settlements, totaling over $2

billion, including $350 million from UnitedHealth alone.

       43.        In the wake of the Ingenix litigations, FAIR Health became the industry

standard for pricing out-of-network care. The database, run by a nonprofit corporation, contains

some 46 billion healthcare claim records—with two billion added every year. The database is

available to consumers, researchers, and businesses alike.

       44.        Those Co-Conspirators involved in the Ingenix conspiracy came away with a

lesson, but not the right one: Instead of learning that it was illegal to pool their claim information

in order to determine the lowest possible reimbursement rates they could impose upon providers,

they determined that this was unlawful only if one of the insurers maintained the database itself.

For instance, in an internal email, Cigna Chief Risk Officer Eva Borden explained that Cigna

“cannot develop these charges internally (think of when Ingenix was sued for creating out-of-


                                                  10
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 11Page
                                                             of 65 13
                                                                   PageID
                                                                      of 67 #:11




network reimbursements).” Instead, it “need[ed] someone (external to Cigna) to develop

acceptable” reimbursement rates.

       45.       That’s where MultiPlan comes in.

       D.      MultiPlan Acquires Other Repricing Services and Data Companies

       46.       In the 2010s, MultiPlan embarked on an effort to diversify its business, largely

through “key acquisitions”:




       47.       First, in 2006, MultiPlan acquired PHCS. While MultiPlan’s presentation

focused on PHCS’s primary PPO network, the largest            in the United States, PHCS also

maintained a large database of usual and customary provider charges, as noted above.

       48.       In 2010, MultiPlan further strengthened its analytics-based repricing data

business by acquiring Viant from Welsh, Carson, Anderson & Stower. United States antitrust

regulators expressed concerns regarding this acquisition, which led the Department of Justice’s

Antitrust Division to open an investigation and issue a “second request” for several categories of

detailed information concerning the transaction. But the acquisition went through, giving

MultiPlan access to additional “negotiation and network solutions” and “repricing solutions.”

       49.       In 2011, MultiPlan acquired National Care Network (“NCN”) and its Data

iSight tool, another repricing algorithm.

       50.        MultiPlan describes the period including and following these latter two

acquisitions—2010 to 2019—as “MultiPlan 2.0,” the period from 2010 to 2019, during which



                                                11
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 12Page
                                                             of 65 14
                                                                   PageID
                                                                      of 67 #:12




MultiPlan focused on acquiring “repricing” tools to reduce the money spent on out-of-network

claims.

          51.     This series of acquisitions formed the “Analytics-Based” prong of MultiPlan’s

three-pronged strategy to underpay providers: “reduce claims using data, algorithms and IP to

determine a fair price, negotiate an agreement before payment, or support the recommended price

after payment.”

          52.     In 2011, MultiPlan acquired National Care Network (“NCN”) and its Data

iSight tool, another repricing algorithm.

          53.     MultiPlan stores this information in an internal database. When a payor submits

a new claim to MultiPlan, pursuant to the contracts between MultiPlan and its Co-Conspirators,

the database reroutes the claim to one of MultiPlan’s repricing tools. These algorithms use the

aggregation of claims data from this gathering of competitors to determine how little the

submitting party can pay a healthcare provider for the good or service in question.

          54.     The exact methodology behind MultiPlan’s claims suppression tools is non-

public and proprietary, but a patent held by its subsidiary NCN sheds light on how it works.

          55.     NCN’s United States Patent No. 8,103,522 explains that when MultiPlan

receives an out-of-network claim, it groups that claim into a refined diagnosis related group

(“rDRG”), a standardized method of grouping insurance claims used by Medicare and some

commercial health insurance networks that categorizes medical services on the basis of severity

and complexity. MultiPlan then identifies all claims at similar hospitals for the same rDRG code.

Next, MultiPlan attempts to estimate the hospital’s cost of providing that rDRG-coded service

based on that group of hospitals’ cost report submissions to the U.S. Centers for Medicare and


                                                12
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 13Page
                                                             of 65 15
                                                                   PageID
                                                                      of 67 #:13




Medicaid Services (“CMS”) and the wage index of the hospital submitting the out-of-network

claim. Next, MultiPlan calculates the markup and margin for each submitted rDRG-coded out-

of-network claim using the following equation: ((Average Charge) - (Average Cost) / (Average

Cost)) x 100.

       56.        In the 2020 presentation to investment analysts, MultiPlan executives put this

mechanism into plain English. First, MultiPlan “ingest[s] data from [its] customers” by

“integrat[ing]” its systems “quickly and easily” with its customers’ systems. “[T]his data is in the

form of a claim.” MultiPlan then “store[s] and move[s] this claim across our platform to our

various products, algorithms and intelligence engine” “to develop solutions” to its customers’

problems, such as “out-of-network claims” that were “the biggest pain point for our customers.”

MultiPlan does all of this in “real-time.” As a result, MultiPlan is “deeply embedded in its

[customers’] claims adjudication process.” This “deep integration into” their customers’ systems

gives MultiPlan “far better data sets” than their competitors.

       57.        MultiPlan is only able to offer this service because it is a clearinghouse for data

from hundreds of competitors that would otherwise be severely restricted in sharing the

information directly with one another. Facilitating this conspiracy preserves MultiPlan’s value to

its Co-Conspirators. According to Paul Galant, operating partner of MultiPlan’s former owner

Churchill Capital, MultiPlan minimizes “the risk . . . of [its] clients internalizing [its] solution

set” by combining all its customers’ private, real-time data into its repricing tools. He explained:

                [W]e see data across 700 payers. That data is much, much larger and
                more diverse than what any single payer has within their system . . . .
                And so that is a massively important point of differentiation. We
                build our algorithms on a much larger data lake. And because we do
                that, we believe our products generate bigger savings . . . .


                                                  13
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 14Page
                                                             of 65 16
                                                                   PageID
                                                                      of 67 #:14




       58.       In other words, when repricing an out-of-network claim for a customer,

MultiPlan does not simply rely on that customer’s data, but on data from the customer’s

competitors as well. And the Co-Conspirators can’t achieve the same outcome—and inflict the

same injury on Plaintiff and the Class—unless they join forces.

       59.       Top insurers rely on MultiPlan as their exclusive provider of repricing services.

As MultiPlan stated in a securities filing, “[w]ith three of the top five payor customers, MultiPlan

is the only out-of-network cost management service provider and with the other two is in position

to get first look at 100% of such payor’s claims (and any competing vendors see only those claims

MultiPlan was unable to reduce).”

       60.       This approach makes sense for all the conspirators because, as Galant put it,

               if a payer decides to do everything on their own . . . [then] their
               ability to go back to providers, and push for saving is fundamentally
               different than ours. We are the third-party independent source. The
               gold standard, if you will, of that data that we capture and analyze.
               And so we can talk to the entire industry, we don’t have to talk to
               any one specific payer when we do that. And so . . . we are a much
               better mechanism by which payers can reduce the cost of healthcare
               versus doing it themselves.

       61.       Put differently, MultiPlan can more aggressively underpay providers than any

individual payor because it is bringing to bear the market power of the entire industry.

       62.       The conspiracy described herein has been so successful that MultiPlan is now

moving beyond MultiPlan 2.0 to MultiPlan 3.0, pursuant to which MultiPlan is “extend[ing] into

in-network” repricing services. MultiPlan projects that implementing MultiPlan 3.0, including

by “[f]urther deploy[ing] artificial intelligence/machine learning” and continuing to “[c]ombine

proprietary data with 3rd party data to develop more powerful analytics,” will increase revenue

by up to $1.15 billion and profits by $720 million.

                                                 14
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 15Page
                                                             of 65 17
                                                                   PageID
                                                                      of 67 #:15




       63.        Put bluntly, MultiPlan intends to continue putting “savings” for its customers

ahead of healthcare providers and consumers whom it “target[s],” all while claiming to be “on

the right side of healthcare.”

       E.       MultiPlan Invites Major Payors to Join Its Conspiracy

       64.        Acquiring these repricing tools was only one part of “MultiPlan 2.0.” The

scheme would not work if MultiPlan were the only PPO network operator using these tools;

providers would simply stop accepting any payor that used MultiPlan for repricing out-of-

network care. MultiPlan needed to expand its scheme to include the Co-Conspirators. So

MultiPlan began signing up all of the country’s major health insurance payors. Today, it boasts

of over 700 such payors among its subscribers, including the 15 largest insurers in the country.

       65.        When the payors’ agreement to use FAIR Health expired in 2014, insurers

immediately undertook efforts to get back to the way things were—that is, collectively using

repricing tools to undervalue reimbursements. At around that time, MultiPlan began signing up

every major insurer in the country to its repricing services.

       66.        Indeed, following the NCN acquisition (during the MultiPlan 2.0 period),

MultiPlan saw exponential revenue growth from the Data iSight platform, which “Enabled

MultiPlan to grow target market with 36 Blue Cross Blue Shield health plans”:




                                                 15
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 16Page
                                                             of 65 18
                                                                   PageID
                                                                      of 67 #:16




       67.       The Co-Conspirators agreed among themselves and with MultiPlan to allow

MultiPlan to reprice their claims and use their claims data to optimize pricing in the payors’ favor.

Under their agreements with MultiPlan, the Co-Conspirators send their claims to MultiPlan by

way of an electronic data interchange. The data MultiPlan receives includes detailed information

such as the procedure code, dates of service, the billed amount, and an alphanumeric code

indicating whether the claim is subject to an insurance network’s previously disclosed UCR rates.

       68.       By the time it approached UnitedHealth, MultiPlan could boast that it had

signed up enough of its competitors to account for 70% of the market. Although MultiPlan “did

not specifically name competitors,” UnitedHealth executive Lisa McDonnel wrote that “from

what he did say we were able to glean who was who.” Before joining the conspiracy, a United

executive lamented in sworn testimony that the company had fallen “behind some of [its] largest

                                                 16
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 17Page
                                                             of 65 19
                                                                   PageID
                                                                      of 67 #:17




competitors” when it came to using MultiPlan’s repricing tools. That made UnitedHealth

susceptible to MultiPlan’s pitch: that subscribing to Data iSight and other repricing tools would

“bring[] UnitedHealth back into alignment with its primary competitor groups Blues, Cigna,

Aetna on managing out-of-network costs.”

       69.       UnitedHealth joined the MultiPlan conspiracy on July 1, 2017. According to

United’s Vice President of Out-of-Network Payment Strategy, Rebecca Paradise, knowing that

MultiPlan’s services were “widely used ” in the industry factored critically into United’s decision

to join the conspiracy. Former UnitedHealth executive John Haben has similarly remarked that

“MultiPlan is a third-party entity used by many in the industry. Not only United, but our

competitors.”

       70.       MultiPlan directly advised UnitedHealth that it should set the prices it offered

to match those of its competitors. For instance, MultiPlan advised UnitedHealth that it should

never pay more than 350% of the unsustainably low Medicare reimbursement rate. UnitedHealth

got on board to make sure it was “in line with the competition.”

       71.       Haben testified that, throughout the conspiracy, MultiPlan provided

UnitedHealth with information about competitor pricing. In fact, MultiPlan, as the conspiracy’s

hub, arranged for Client Advisory Board meetings in which the Co-Conspirators could come

together to discuss how to better use MultiPlan to effectuate their anticompetitive scheme.

       72.       MultiPlan encouraged continued commitment to the conspiracy—“alignment”

among the competitors—by telling its Co-Conspirators about which of their competitors used the

claim repricing tools and how those tools allowed those competitors to profit by artificially

suppressing reimbursements for out-of-network claims. Each Co-Conspirator, therefore, knew


                                                17
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 18Page
                                                             of 65 20
                                                                   PageID
                                                                      of 67 #:18




that its competitors had adopted or were considering adopting the MultiPlan repricing tools to

underpay out-of-network healthcare service providers. Indeed, in defending their use of

MultiPlan’s repricing tools and the exorbitant shared savings fees they generate, UnitedHealth

has called the tools and fees “an industry-standard approach.” Similarly, Cigna describes the

shared savings fee as in “align[ment] with industry standards.” These statements make clear that

MultiPlan and its Co-Conspirators intended to, and did successfully, maintain and protect the

conspiracy because they know that their Co-Conspirators have agreed to do the same.

       73.        It would be against the individual self-interest of any insurer to pay providers

as little as MultiPlan does, because it would drastically increase the risk that the provider would

simply stop accepting patients with coverage from that insurer for non-emergency services.

       74.       With the comfort that all of their competitors were also using MultiPlan,

however, the Co-Conspirators could rest assured that providers would swallow MultiPlan’s paltry

rates and keep accepting their insurance. After all, the providers had nowhere else to turn.

       75.       Today, MultiPlan has contracts with nearly every healthcare payor in the United

States—over 700 payors in total. In June 2023, MultiPlan told investors that “all of the top 15

insurers” based on market share used its claim repricing tools to artificially suppress out-of-

network reimbursement rates. Those 15 insurers dominate the health insurance market, giving

the conspiracy enormous power in the out-of-network reimbursement market and over healthcare

providers.

       76.       Almost all of those contracts include agreements to use one of MultiPlan’s

repricing tools to suppress out-of-network payments to providers, and for MultiPlan and the

payor to split the “savings.” Commercial insurance payors admit they have agreements with


                                                18
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 19Page
                                                             of 65 21
                                                                   PageID
                                                                      of 67 #:19




MultiPlan to reprice out-of-network claims. For example, UnitedHealth states that healthcare

providers may be offered a “rate recommended by Viant, an independent third-party vendor that

collects and maintains a database of health insurance claims for facilities, then applies proprietary

logic to arrive at a recommended rate.”

       77.         MultiPlan and its Co-Conspirators have created new “industry partnerships”

that give them additional opportunities to privately discuss increasing the conspiracy’s ruthless

efficiency. For instance, in a 2020 presentation, MultiPlan’s Chief Information Officer, Michael

Kim, touted the founding of the Synaptic Blockchain Alliance alongside UnitedHealth, Humana,

and Aetna. He explained that leveraging blockchain technology would “significantly reduce our

provider data management costs” and “improve the quality of our data.” The Alliance’s website

further explains that the organization is “a provider data exchange—a cooperatively owned,

synchronized distributed ledger to collect and share changes to provider data,” which “is now a

shared resource of more than two million records collectively managed by payers, providers, and

data suppliers.”

       F.       MultiPlan Enticed Payors to Join the Conspiracy By Offering Them a Share
               of Its Anticompetitive Profits

       78.         MultiPlan’s analytics business derives revenue in two ways. First, it derives

fees from subscription fees that insurers pay for the use of MultiPlan’s repricing algorithms.

       79.         Second, MultiPlan’s repricing tools are “priced at a percentage of savings

identified.” In other words, MultiPlan charges employers a fee based on the difference between

a healthcare provider’s original claim and the amount the provider accepts following MultiPlan’s

repricing of the claim. This fee often falls in the range of 5–7% of the “savings,” but can be as

high as 9.75%. MultiPlan thus faces incentives to pay providers as little as possible. The less

                                                 19
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 20Page
                                                             of 65 22
                                                                   PageID
                                                                      of 67 #:20




money an insurer pays to a provider, the more money MultiPlan makes.

       80.         Of course, the insurers benefit as well. An insurer would always want to pay a

provider as little as possible, but it would be constrained by the risk of that provider ceasing to

accept its subscribers. MultiPlan’s scheme eliminates that risk by suspending the competition

among insurers for reimbursements to providers.

       81.         At the same time that payors were abandoning UCR pricing in favor of repricing

algorithms like MultiPlan’s, they were also shifting their relationships with administrative

services only (“ASO”) insurance plans in ways that dovetailed with the repricing scheme.

       82.         Under ASO plans, the employer carries the risk of loss if a claim exceeds the

premiums. The premiums are paid to the employer and the employer is on the hook for paying

its employees’ claims. As part of this plan, the employer pays a monthly administrative services

fee to an insurance company—a per member, per month (“PMPM”) fee—to administer the ASO

plan. The insurance company then enters into “shared savings agreements” that permit it to send

out-of-network claims for ASO employers to MultiPlan for repricing. Large employers, which

make up a substantial portion of the commercial insurance market, are almost all part of ASO

insurance plans.

       83.         At approximately the same time that insurers began abandoning UCR pricing in

favor of MultiPlan’s repricing algorithms, each co-conspirator added new terms to its ASO

contracts in order to ensure they would profit from out-of-network reimbursement reductions.

Following these changes, in addition to PMPM fees, ASO plans require self-insured groups to

pay a percentage (as high as 35%) on the difference between a billed out-of-network charge and

the amount paid on that out-of-network claim, known as the “shared savings fee” or “processing


                                                 20
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 21Page
                                                             of 65 23
                                                                   PageID
                                                                      of 67 #:21




fee.”

        84.       MultiPlan and the insurer then takes a percentage of the “savings” or

“processing” fee. But this innocuous language conceals an ugly truth: MultiPlan is not really

saving money at all. MultiPlan is suppressing payments to health care providers like Plaintiff and

the Class; taking credit for this illusory “savings”; and then splitting the ill-gotten gains with its

payor Co-Conspirators.

        85.       These shared savings agreements generate tremendous profits for insurance

companies and MultiPlan at the expense of medical providers. UnitedHealth made approximately

$1.3 billion from its shared savings agreements to suppress out-of-network claims in 2020. And

in an internal presentation, UnitedHealth stated that it intends to cut its out-of-network

reimbursements by $3 billion by 2023.

        86.       One example illustrates the perverse outcomes that the conspiracy generates. A

New Jersey-based trucking company called New England Motor Freight received a $50,650

charge for a “processing fee” on a single hospital bill. And when New England Motor Freight

questioned the fee, UnitedHealth executive William T. Raha pushed back against the idea of

providing a partial refund because of “concern[] about setting precedent” on an issue that “cuts

across not only all of Key Accounts, but National Accounts as well” and the company’s

“unwilling[ness] to enter into one-off agreements that cap our revenue.”

        87.       While independent health care providers like Plaintiff and the Class have

struggled due to these underpayments, and employers have suffered from the fees, MultiPlan has

profited handsomely. In 2020, analytics-based services—which include the repricing tools—

accounted for 59% of MultiPlan’s revenue. In 2021, this figure rose to 64%: $709 million of


                                                  21
     Case:Case
           1:24-cv-06284
               MDL No. 3121
                         Document
                             Document
                                  #: 1 Filed:
                                        95-3 07/24/24
                                              Filed 07/24/24
                                                      Page 22Page
                                                              of 65 24
                                                                    PageID
                                                                       of 67 #:22




MultiPlan’s $1.1 billion in total revenue. In 2022, it rose to 66%. During this time, MultiPlan

consistently had profit margins “in excess of 70%.” Revenue generated by just a single claim

repricing tool, Data iSight, increased from $23 million in 2012 to $323.7 million in 2019.

        88.          MultiPlan’s reach is extensive—it touts that it “extends to more than 100,000

health plans covering more than 60 million people.” Subscribers to MultiPlan’s repricing services

include all of the top 15 commercial health insurers in the country. Because the insurers that

participate in the MultiPlan scheme control so much of the market, providers like Plaintiff and

the putative Class have no choice but to accept MultiPlan’s ridiculously low offers, or risk not

being paid at all.

        G.      MultiPlan and its Co-Conspirators Drastically Underpay Providers for Out-
                of-Network Care

        89.          MultiPlan’s repricing tools generate significant underpayments when compared

to traditional methods of pricing out-of-network healthcare claims. An April 2020 study

published by the Office of the New York State Comptroller compared UnitedHealth’s average

reimbursement payment to a healthcare provider for an out-of-network claim using a UCR

methodology, which was $225, to the average payment using MultiPlan repricing, which was

$96—a 57% drop. The same study found that, depending on the service provided, reimbursement

payments made using MultiPlan repricing were 1.5 to 49 times lower than UCR rates for that

service.

        90.          For example, Jeffrey Farkas, M.D., LLC submitted a claim for $332,300 to

Great-West Healthcare d/b/a Cigna Corp. for brain surgery performed on an out-of-network basis on

February 17, 2016. Farkas received a response via fax not from Cigna but from MultiPlan, which

revealed that Cigna had contracted with MultiPlan to handle the claim. MultiPlan offered Farkas

                                                  22
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 23Page
                                                             of 65 25
                                                                   PageID
                                                                      of 67 #:23




only $12,407 as reimbursement for the out-of-network services performed—3.7% of the billed

amount. As a condition of accepting the offer, MultiPlan required the provider to refuse to seek

any further compensation from the patient. MultiPlan demanded an answer within two days.

          91.    Indeed, MultiPlan and its Co-Conspirators sometimes suppress payments to

healthcare providers so much that the fees that MultiPlan and its Co-Conspirators charge for these

“savings” exceed the amount the provider receives for providing medical care. For instance, when

a facility providing outpatient substance abuse treatment received $134.13 on a claim, Cigna, the

payor, received $658.75—almost five times as much—as a processing fee. MultiPlan received

$167.48—more than the provider—for its role in suppressing the claim. Court records shows this

pattern repeats itself frequently. Ultimately, therefore, while Cigna received $4.47 million in

processing fees from employers related to addiction treatment claims in California, the providers

received only $2.56 million. MultiPlan received $1.22 million for its role in repricing those

claims.

          92.    MultiPlan admits that underpayments come from reducing the money

healthcare providers receive for services provided. MultiPlan claims that its repricing tools

generally result in payments “61%-81% off billed charges.” For example, UnitedHealth, using

MultiPlan’s services, paid a doctor just $5,449.27 for performing a lengthy, complicated

procedure to repair tissue and close a wound on a patient whose incision from heart surgery had

failed to heal. In another example, United covered only $7,879 of a $152,594 bill, or just more

than 5% of the bill.

          93.    MultiPlan’s sales executives repeatedly tout the ability of their repricing tools

to create savings by underpaying out-of-network claims. MultiPlan advertises that its repricing


                                                23
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 24Page
                                                             of 65 26
                                                                   PageID
                                                                      of 67 #:24




tools achieve “optimal reimbursement”—i.e., the lowest-possible payments to healthcare

providers—when “compared to Usual and Customary and Medicare-Based pricing.”

       94.       A rural Virginia provider of behavioral therapy services for children with autism

charges the Medicaid reimbursement rate for her services. Nevertheless, Aetna, relying on

MultiPlan’s repricing tools, would only pay her half the already-low rate that Medicaid pays.

       95.       When sworn to tell the truth, the Co-Conspirators’ executives admit to the

reasonableness of healthcare providers’ charges for out-of-network services. For example, at trial,

Haben undercut United’s mischaracterization of emergency department charges as “egregious.”

He specifically refused to label a $1,428 bill as “egregious,” saying that the life-saving care

justified the “reasonable” charge. He testified that, “[i]f you put it in the perspective of saving

somebody’s life, $1,400 is not a lot of money.” Conversely, he admitted that UnitedHealth’s

reimbursement rate of $254, which MultiPlan facilitated, was “low.”

       96.       The MultiPlan repricing tools also generate parallel repricing offers for every

entity that uses them. With the use of these tools, MultiPlan and its Co-Conspirators can offer

parallel reimbursement amounts for out-of-network services regardless of the location where the

service is offered. This makes no sense absent the existence of a conspiracy.

       97.       Any legitimate manner of calculating out-of-network reimbursements by

commercial health insurers would take into account the geographic differences in the cost of

providing medical care. The cost of living, and therefore wages, varies widely state-by-state; and

within states, it varies according to whether an area is urban, suburban, or rural. An hour of a

physician’s time generally costs more in New York City, NY than it does in Bessemer, AL. The

cost of medical supplies varies widely as well, based on the size of the facility (smaller


                                                24
     Case:Case
           1:24-cv-06284
               MDL No. 3121
                         Document
                             Document
                                  #: 1 Filed:
                                        95-3 07/24/24
                                              Filed 07/24/24
                                                      Page 25Page
                                                              of 65 27
                                                                    PageID
                                                                       of 67 #:25




communities tend to have smaller hospitals) and the transportation costs of delivering those

supplies to the provider.

        98.        Although MultiPlan claims its algorithm takes these regional differences into

account by applying a wage index adjustment before recommending a reimbursement, in reality,

MultiPlan offers the same payment regardless of where medical care is provided, and sometimes

without regard for the service at issue.

        99.        For example, consider a complaint that a group of emergency physician groups

filed containing allegations regarding, inter alia, eight emergency room physicians’ bills for

moderately complex emergency room services across the country in a four-month period in 2019.

The providers of those services billed one of two insurers, UnitedHealth and BlueCross &

BlueShield (“BCBS”), for those services:

               •   On January 21, an emergency physician in Wyoming charged $779;
               •   On January 25, an emergency physician in Arizona charged $1,212;
               •   That same day, an emergency physician in New Hampshire charged $1,047;
               •   On February 8, an emergency physician in Oklahoma charged $990;
               •   On February 10, an emergency physician in Kansas charged $778;
               •   That same day, an emergency physician in New Mexico charged $895;
               •   On March 25, an emergency physician in California charged $937; and
               •   On May 20, an emergency physician in Pennsylvania charged $1,094.

        100.       Upon information and belief, each of these bills represented a charge for UCR,

adjusted for the facility’s location.

        101.       But after subjecting the providers’ bills to MultiPlan’s Data iSight algorithm

and applying the secretly agreed upon pricing overrides, MultiPlan recommended—and

UnitedHealth and BCBS paid—the exact same amount down to the penny for every one of those

treatments: $413.39.

        102.       MultiPlan and its insurer partners did not adjust these amounts to account for

                                                 25
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 26Page
                                                             of 65 28
                                                                   PageID
                                                                      of 67 #:26




geography, different services, or anything else, despite their representations to providers, plan

sponsors, patients, and the public to the contrary.

          103.   These $413.39 payments, which result from Defendant and the Co-

Conspirators’ collusive agreement, represented between 46% and 66% reductions from a UCR

payment, or a payment calculated using a fair and independent benchmark like FAIR Health.

          104.   MultiPlan brags that, due to this power, healthcare providers accept MultiPlan’s

artificially suppressed out-of-network reimbursement rates 98-99% of the time. MultiPlan

specifically cites these acceptance rates as a “key benefit” of its claim repricing tools when

attempting to entice additional payors to join the conspiracy.

          105.   But providers do not accept MultiPlan’s offers 99% of the time because the

offers reflect fair and competitive rates for the services they offer. Providers like Plaintiff and

Class members accept these rates because, as a result of the conspiracy, they have no choice.

          106.   Various factors make it impossible for healthcare providers to reject MultiPlan’s

paltry offers. First, due to the conspiracy’s size and conspirators’ market share, healthcare

providers cannot practically turn elsewhere to seek reimbursement for out-of-network claims.

They cannot refuse to do business with the conspiracy’s members and remain economically

viable.

          107.   Second, healthcare providers cannot meaningfully negotiate with MultiPlan or

its conspirators. As a “mafia enforcer for insurers,” in the words of one industry analyst,

MultiPlan gives providers an “offer” they cannot refuse: accept the offer within a window as

short as several days, or watch it get cut even further. In one fax to a doctor, MultiPlan gave the

doctor only eight days to accept its cut-rate offer. Failing that, MultiPlan threatened to drop its


                                                 26
     Case:Case
           1:24-cv-06284
               MDL No. 3121
                         Document
                             Document
                                  #: 1 Filed:
                                        95-3 07/24/24
                                              Filed 07/24/24
                                                      Page 27Page
                                                              of 65 29
                                                                    PageID
                                                                       of 67 #:27




offer “as low as 110% of Medicare rates.” Others have reported deadlines of mere hours.

Refusing the offer can also cause delay, placing additional pressure on a provider to accept the

initial offer.

        108.      Further, MultiPlan traps providers in a catch-22. If a provider tries to negotiate

with a MultiPlan representative, it goes nowhere because MultiPlan has instructed its employees

to refuse to answer more than five questions before ending the call. But because MultiPlan serves

as claims handler, providers do not have the alternative of negotiating directly with payors, which

have outsourced not only pricing decisions, but also claim collection, to MultiPlan. This

purported efficiency is only possible as a result of the conspiracy: because MultiPlan knows that

its Co-Conspirators’ prices are fixed to match one another, MultiPlan has no need to waver. Some

payors have recently become more aggressive and insisted that MultiPlan’s offers are entirely

non-negotiable not just in practice, but in fact.

        109.      Third, most providers cannot devote the resources that would be necessary to

contest all of MultiPlan’s anticompetitively suppressed reimbursement offers. MultiPlan

processes 370,000 claims daily. Attempting to negotiate reimbursements on all those claims

would require substantial investments in time and resources that Plaintiff and class members

could and should be devoting to patient care.

        110.      MultiPlan and its Co-Conspirators exploit this limitation. They know that

medical billing departments handle droves of out-of-network claims and lack the time to fight

every individual claim. This emboldens MultiPlan and its Co-Conspirators to impose sub-

competitive reimbursement rates on healthcare providers and give them unreasonable deadlines

by which to accept them.


                                                    27
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 28Page
                                                             of 65 30
                                                                   PageID
                                                                      of 67 #:28




       111.      Bureaucratic indifference and perverse incentives exacerbate these problems for

providers. As one analyst noted, “MultiPlan’s key strategy for forcing doctors to accept low

prices is by erecting a bureaucratic layer so thick and complicated that few can navigate it. . . .

MultiPlan preys on physicians using subtly forceful [communications], expecting physicians’

medical billing staff to not have time to fight through layers of bureaucratic tape.” MultiPlan’s

former employees explain that the company fostered a culture that promoted artificially

suppressing reimbursement rates in part by linking employee bonuses to these suppressed rates.

Predictably, therefore, MultiPlan, through its employees, would employ harsh negotiation

techniques. One former negotiator described herself as “a bit of viper,” who “wanted to go in as

hard as I could because my bonus is affected.” Another negotiator admits that she “knew [the

artificially suppressed reimbursement rates] were not fair” and would call providers from her

cellphone to advise against accepting the artificially suppressed reimbursement.

       112.      The conspiracy has substantially affected the out-of-network reimbursement

market and healthcare providers such as Plaintiff. In 2020, MultiPlan told investors that it

identified “savings”—underpayments to healthcare providers—for its 700+ customers that

totaled $18.8 billion. In 2021, the figure was $21.7 billion. In 2022, the figure was $22.23 billion.

By 2023, the figure was $22.9 billion.

       H.       MultiPlan Polices the Conspiracy

       113.      At several points, the nation’s largest insurer, UnitedHealth, indicated it might

leave the conspiracy. MultiPlan pulled out all the stops to keep UnitedHealth in the fold.

       114.      As the nation’s largest commercial health insurance provider, UnitedHealth

could easily analyze its own historical claims database to ascertain the most efficient pricing for


                                                 28
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 29Page
                                                             of 65 31
                                                                   PageID
                                                                      of 67 #:29




out-of-network reimbursements. Bringing its repricing decisions in-house would eliminate

MultiPlan as a middleman, saving UnitedHealth potentially hundreds of millions of dollars per

year.

        115.     In 2021, UnitedHealth created Naviguard, intended to act as an in-house re-

placement for MultiPlan. With this creation, UnitedHealth created a “roadmap” to terminate its

contract with MultiPlan in 2023. But UnitedHealth abandoned its plan and renewed its agreement

with MultiPlan instead.

        116.     This decision makes no economic sense from the perspective of UnitedHealth’s

unilateral self-interest. UnitedHealth has an economic incentive to compete against other health

insurance providers to ensure that United’s insureds can see out-of-network healthcare

providers—and to do that, it must pay competitive reimbursement rates. UnitedHealth developed

Naviguard with an eye toward achieving this competitive edge.

        117.     But UnitedHealth’s plan to abandon MultiPlan in favor of Naviguard would not

just deny MultiPlan the revenue it derived from UnitedHealth; it risked destabilizing the

MultiPlan agreements and causing other payors to reevaluate their participation in the conspiracy.

So MultiPlan stepped in with a sweetheart deal. Upon information and belief, in 2022, MultiPlan

and UnitedHealth negotiated a new contract for MultiPlan’s repricing

        118.     As a result of the new terms it gave to UnitedHealth, MultiPlan experienced a

20.6% drop in revenues for the first quarter of 2023 compared with the first quarter of 2022. But

MultiPlan was willing to sacrifice short-term revenues to stabilize the conspiracy and keep its

largest members in the fold.

        119.     To further sweeten the deal, on June 27, 2023, MultiPlan announced that John


                                                29
     Case:Case
           1:24-cv-06284
               MDL No. 3121
                         Document
                             Document
                                  #: 1 Filed:
                                        95-3 07/24/24
                                              Filed 07/24/24
                                                      Page 30Page
                                                              of 65 32
                                                                    PageID
                                                                       of 67 #:30




Prince, the recently retired President of Optum—UnitedHealth’s health services subsidiary—

would join MultiPlan’s board of directors.

           120.     MultiPlan’s willingness to sacrifice short-term profits does not make economic

sense absent its knowledge that perpetuating its conspiracy will have long-term benefits.

V.         The Conspiracy is Per Se Illegal.

           121.     The agreement among MultiPlan and its Co-Conspirators to share claim

information with one another and collectively use that repository of claim information to fix the

prices they pay for out-of-network health services produces clear anticompetitive effects and

offers no procompetitive benefits, rendering it a facially anticompetitive, per se illegal restraint

of trade.

           122.     Indeed, MultiPlan acknowledges that it “is deeply integrated into the proprietary

claims adjudication system of its customers” and uses all these proprietary data sources to “drive”

its analytics system.

           123.     Although this conspiracy harnesses new technology to accomplish its

anticompetitive ends, it is a classic price-fixing conspiracy that courts have long deemed per se

illegal.

           124.     MultiPlan and its Co-Conspirators also cannot escape scrutiny under the per se

rule simply by pointing to the absence of an agreement on the final reimbursement rate for a

given service. The per se rule applies because MultiPlan and its Co-Conspirators agreed to use

the same method—MultiPlan’s repricing tools, databases and algorithms—to set reimbursement

rates, and they knew that all other conspirators would rely on those same tools and algorithms

because MultiPlan specifically informed them of this before and throughout the conspiracy.


                                                   30
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 31Page
                                                             of 65 33
                                                                   PageID
                                                                      of 67 #:31




Calling MultiPlan’s price offers merely a “recommendation” elevates form over substance; in

reality, providers like Plaintiff and the Class have no choice but to accept whatever meager

compensation MultiPlan presents. Because each member of the conspiracy understood that the

others would rely on MultiPlan’s algorithm to set reimbursement rates and proceeded anyway,

the conspiracy is per se unlawful.

       A.      MultiPlan Operates a Hub-and-Spoke Conspiracy

       125.      In the alternative, the conspiracy among MultiPlan and its Co-Conspirators

could also be characterized as a hub-and-spoke conspiracy.

       126.      Under this rubric, MultiPlan is the conspiracy’s hub. The agreements between

MultiPlan and its Co-Conspirators are the spokes. The Co-Conspirators’ knowledge that the

others are also using MultiPlan’s claim repricing tools to reprice out-of-network reimbursement

claims is the rim.

       127.      MultiPlan serves as the hub by operating a clearinghouse for all of its Co-

Conspirators’ claims data. No valid independent business reason exists for the Co-Conspirators

to share their proprietary data with MultiPlan and agree to use MultiPlan’s claim repricing tools

to artificially suppress out-of-network reimbursement rates. Large payors, like UnitedHealth,

could, and did, create internal repricing tools that do not rely on the sharing and use of

competitors’ sensitive claim data. Small payors could use the FAIRHealth benchmark to reprice

claims. Instead, essentially all payors, including the largest 15, agreed to use MultiPlan’s claim

repricing tools to suppress out-of-network claim reimbursements. Why? MultiPlan, as the

conspiracy’s hub, assured its conspirators that they could conspire without worrying that their

competitors would challenge them by offering higher reimbursement rates.


                                                31
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 32Page
                                                             of 65 34
                                                                   PageID
                                                                      of 67 #:32




        128.      The MultiPlan conspiracy works because the Co-Conspirators collectively

agreed to depart from alternatives—such as the traditional “usual and customary” pricing model,

or FAIRHealth—and instead use MultiPlan as a hub to fix the prices for reimbursement of out-

of-network claims. Further, participation in the conspiracy requires submission of real-time

claims data to MultiPlan. Because each conspirator knows that it must contribute that data, it

knows that all of its competitors—i.e., its fellow conspirators—are contributing their data as well.

This information sharing increased the Co-Conspirators’ motivation to conspire, because it

reminded each one that any attempt to reduce prices unilaterally would fail due to the

conspiracy’s existence.

        B.      The Conspiracy Harms Competition in the Relevant Market.

        129.      The conspiracy has harmed competition in the market for reimbursements of

out-of-network healthcare services claims by commercial payors. By agreeing to use MultiPlan’s

repricing tools to suppress the reimbursement rate for out-of-network services, MultiPlan’s Co-

Conspirators have paid less on out-of-network reimbursement claims to healthcare providers than

they would have in the absence of the conspiracy.

        130.      But for the conspiracy, MultiPlan and its Co-Conspirators would have competed

to adequately compensate Plaintiff and Class members for out-of-network healthcare services.

Doing so would ensure that more providers would accept their insurance; that their insureds could

access a wider variety of healthcare providers; and make their health insurance plans more

attractive to subscribers.

        131.      The underpayments to Plaintiff and the Class are a classic injury of the type the

antitrust laws were intended to prevent. The conspiracy caused those injuries.


                                                 32
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 33Page
                                                             of 65 35
                                                                   PageID
                                                                      of 67 #:33




       132.      Plaintiffs cannot avoid the conspiracy’s anticompetitive effects. As explained

above, practically speaking, healthcare providers cannot reject MultiPlan’s offered

reimbursement rates and negotiate to obtain a better rate. As one healthcare provider explained,

“When we reject a [proposed MultiPlan reimbursement rate], it takes months to get any payment

and we never get paid more than the amount” originally proposed. Indeed, sometimes MultiPlan

will reduce the reimbursement rate even further if the healthcare provider does not immediately

acquiesce.

       133.      MultiPlan and its Co-Conspirators’ market power allows them to enforce

compliance with their reimbursement rates. Providers ultimately accept these sub-competitive

rates as often as 99% of the time and appeal them as infrequently as 2% of the time.

       134.      The conspiracy not only harms healthcare providers, but also healthcare

consumers. For one thing, underpayments can push healthcare providers out of business, limiting

the supply of healthcare services.

       135.      In particular, the conspiracy puts providers in rural areas at risk of closing. As

explained by the American Hospital Association (“AHA”): “America’s rural and community

hospitals need competitive reimbursements from commercial payors to carry out their core

mission of providing care for their patients and communities.” A recent study estimate[es] that

“[m]ore than 200 rural hospitals are at immediate risk of closure because they aren’t making

enough money to cover the rising cost of providing care, and their low financial reserves leave

them little margin for error.” The same study found that another 400 rural hospitals “are at risk

of closure in the near future.”

       136.       According to the same study, 58% of rural hospitals in Alabama are at risk of


                                                33
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 34Page
                                                             of 65 36
                                                                   PageID
                                                                      of 67 #:34




closing, with 44% at immediate risk of closing.




       C.      No Procompetitive Benefits Justify the Anticompetitive Effects of the Scheme

       137.       MultiPlan and its Co-Conspirators’ collective pricing scheme has harmed

competition while producing no procompetitive effects.

       138.       MultiPlan and its Co-Conspirators contend that its conspiracy has

procompetitive benefits because it reduces health care costs for consumers. But this is not true.

As one healthcare analyst explained: “Theoretically, MultiPlan’s harsh negotiation tactics should

be good for rising American health care costs; insurers are supposed to lower costs by negotiating

lower prices on behalf of the patient. But instead, MultiPlan acts like a mafia enforcer for insurers,

forcing doctors to accept low payments while insurance premiums for patients . . . somehow

continue to rise.”

       139.       Statistical evidence supports this analysis. The Centers for Medicare and

Medicaid Services found that out-of-pocket health expenditures increased $67.3 billion, or

18.3%, from 2016, the year before the conspiracy started, to 2021. It projects that these figures

will continue to grow, outpacing inflation and GDP growth, well into the future.

       140.       MultiPlan and its Co-Conspirators have systematically paid sub-competitive

reimbursements for out-of-network healthcare services, which reduces the revenue available to

healthcare providers to improve and expand access to healthcare. The conspiracy has also already

                                                  34
      Case:Case
            1:24-cv-06284
                MDL No. 3121
                          Document
                              Document
                                   #: 1 Filed:
                                         95-3 07/24/24
                                               Filed 07/24/24
                                                       Page 35Page
                                                               of 65 37
                                                                     PageID
                                                                        of 67 #:35




limited consumers’ healthcare options by contributing to an increase in hospital closures. The

conspiracy does not, however, contain healthcare costs. MultiPlan and its Co-Conspirators’

burden healthcare providers, consumers and employers to benefit themselves alone, all while

unfairly labeling healthcare reimbursement claims as “egregious” to justify their misconduct.

        141.     Even though MultiPlan and its Co-Conspirators’ misconduct has increased their

profits by outsourcing reimbursement pricing to a single, automated decision-maker that

processes and relies on all their non-public claim data to set prices, it has not in any way improved

competition or healthcare quality, nor has it lowered healthcare costs overall. Simply put, the

conspiracy provides no procompetitive benefits.

        142.     Even assuming any de minimis procompetitive benefits from MultiPlan and its

Co-Conspirators’ misconduct exist (and they do not), they could not outweigh the significant and

ongoing anticompetitive effects that the conspiracy has caused in the market.

VI.     Market Power in the Relevant Market

        A.     Product Market

        143.     To the extent that Plaintiff’s claims require the definition of relevant markets,

the relevant product market in which MultiPlan and its Co-Conspirators compete is the market

for reimbursements paid by commercial insurers (irrespective of whether on the insurer’s own

behalf or on behalf of ASO clients) to healthcare providers for out-of-network medical services.

Within this market, healthcare providers like Plaintiff and Class members function as sellers of

out-of-network medical services, while commercial insurers like Defendant and the Co-

Conspirators function as buyers of those services.




                                                 35
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 36Page
                                                             of 65 38
                                                                   PageID
                                                                      of 67 #:36




       B.         Geographic Market

       144.        The relevant geographic market is the United States.

       145.        The relevant geographic market is not larger than the United States because

medical providers in the United States cannot reasonably turn to payors in other countries—

where private medical insurance is uncommon or non-existent and nearly all medical care is

administered as part of a comprehensive government program—to be reimbursed for out-of-

network medical services. The United States’ healthcare industry, including the market for

reimbursement of out-of-network services, is universally recognized by industry participants as

distinct from healthcare industries in foreign countries and is subject to a variety of unique federal

and state laws and regulations that apply only in the United States.

       146.        The relevant geographic market is not smaller than the United States because

healthcare providers can and do turn to commercial insurers located in other parts of the country

for reimbursement of out-of-network services. Healthcare providers can choose to file claims on

behalf of their out-of-network patient and are not bound by the patient’s contract with his or her

health insurer.

       C.         Market Power

       147.        MultiPlan and its Co-Conspirators collectively possess market power in the

relevant market. Nearly every commercial insurer that participates in the relevant market has

agreed with MultiPlan to curb out-of-network reimbursement payments. Although it is not

coextensive with the market for reimbursement payments, the Kaiser Family Foundation

estimates that the health insurance market in the United States has a Herfindahl-Hirschman

Index—a common measure of market concentration—of 4,594. This indicates that the market is



                                                  36
       Case:Case
             1:24-cv-06284
                 MDL No. 3121
                           Document
                               Document
                                    #: 1 Filed:
                                          95-3 07/24/24
                                                Filed 07/24/24
                                                        Page 37Page
                                                                of 65 39
                                                                      PageID
                                                                         of 67 #:37




highly concentrated, since a value above 2,500 indicates an anticompetitive market.

         148.    Further, that MultiPlan is able to suppress reimbursements to providers in the

Class is direct evidence that MultiPlan and its Co-Conspirators have the market power sufficient

to do so.

VII.     Parallel Conduct and Plus Factors

         149.    To the extent that Plaintiff must plead parallel conduct and plus factors, the

parallel conduct in which MultiPlan and its Co-Conspirators have engaged further evinces the

conspiracy to diminish payments to healthcare providers for out-of-network claims.

         150.    As detailed above, the nation’s largest health insurers have all, in parallel,

abandoned UCR pricing in favor of MultiPlan’s repricing algorithms. At the same time, they

have changed their agreements with ASO customers to implement “shared savings” strategies,

that dovetail with MultiPlan’s repricing.

         151.    In addition to the parallel conduct by MultiPlan and its Co-Conspirators,

various “plus factors” confirm the conspiracy, including the following.

         A.     High Collective Market Concentration

         152.    As noted above, the relevant product market for Plaintiff’s claims is the market

for reimbursements paid by commercial insurers to healthcare providers for out-of-network

medical services. In this market, healthcare providers like Plaintiff function as sellers of out-of-

network services and commercial insurers like MultiPlan function as buyers of those services.

         153.    Healthcare providers have no reasonable substitutes for the reimbursements

provided by commercial insurers for out-of-network medical services.

         154.    MultiPlan faces only limited competition in the out-of-network claims repricing



                                                 37
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 38Page
                                                             of 65 40
                                                                   PageID
                                                                      of 67 #:38




business. MultiPlan claims that its repricing tools, like Data iSight, differentiate themselves

through patented repricing methodology and MultiPlan’s large, proprietary database of historical

claims, whereas other claims repricing services base their methodologies on UCR rates or

Medicare rates. Other claims repricing services are small-time players compared to MultiPlan. In

2022, MultiPlan’s main competitor, Zelis, processed approximately two million claims for

repricing. The same year, MultiPlan processed 546 million claims, accounting for $155 billion

in claims. These competitors do not possess sufficient market share to discipline MultiPlan.

       155.      But MultiPlan has not distinguished itself by creating a “superior product.” To

the contrary, as one investment analyst put it, “there is no discernible difference between MPLN

and Zelis,” and instead, “switching costs are the only barrier to entry.”

       156.      Nor can health care providers turn to patients for compensation. Under various

federal and state laws, it can be illegal for healthcare providers to seek reimbursements from

insureds for out-of-network claims (so-called “balance billing”). Even where statutes do not limit

this conduct, MultiPlan and its Co-Conspirators—who dominate the market—force healthcare

providers to forego any reimbursement from insureds as a condition of receiving the meager

compensation that MultiPlan offers.

       157.      In short, MultiPlan and its Co-Conspirators’ high market concentration has

allowed the MultiPlan conspiracy to flourish and lets MultiPlan impose anticompetitive effects

on the entire relevant market.

       158.      As a result of this market concentration, healthcare providers have no choice

when seeking payment for out-of-network services. Often, their only option for reimbursement is

submitting a claim to the patient’s particular insurance company. If that insurance company is a


                                                 38
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 39Page
                                                             of 65 41
                                                                   PageID
                                                                      of 67 #:39




member of the MultiPlan conspiracy—and given the market power that MultiPlan and the Co-

Conspirators possess, it likely is—the healthcare provider has no choice but to accept whatever

reimbursement MultiPlan deigns to offer.

       B.      Motive to Conspire

       159.      MultiPlan and its Co-Conspirators have a pressing financial motive to suppress

out-of-network payment rates. MultiPlan is paid a percentage of the underpayment to healthcare

providers: the more the conspiracy curbs reimbursements, the more MultiPlan is paid.

       160.      Likewise, the Co-Conspirators are incentivized to suppress payments to

healthcare providers to increase their own profits. Just as MultiPlan charges insurance companies

a percentage of the difference between the provider’s billed amount and the amount actually paid,

insurance companies charge their customers, often employers who provide coverage to

employees through self-funded plans administered by the insurance company, a percentage of

that same difference as a “shared savings fee” or “processing fee.”

       161.      Thus, MultiPlan and its Co-Conspirators’ motives are aligned because the less

they pay to healthcare providers, the more revenue they get to keep for themselves and split

pursuant to their anticompetitive agreements.

       C.      High Barriers to Entry

       162.      Entering the Relevant Market is hindered by high barriers.

       163.      To develop a third-party repricing service, a new entrant would need to spend

copious amounts of money to develop source code and algorithms that effectively reprice out-

of-network claims without infringing MultiPlan’s patents, develop contractual relationships with

hundreds of commercial insurers, and commit significant resources to consistently improving



                                                39
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 40Page
                                                             of 65 42
                                                                   PageID
                                                                      of 67 #:40




its repricing algorithms and software. As a result, it is unlikely that any company could

effectively disrupt MultiPlan’s repricing scheme.

       164.       Even if a competitor could develop the software to compete with MultiPlan, it

would be hard pressed to make a viable challenge to MultiPlan’s dominant market share as long

as MultiPlan maintained agreements with the nation’s largest health insurance payors. Indeed,

MultiPlan’s use of the anticompetitive profits it generates from the scheme to pay its Co-

Conspirators amounts to a substantial barrier to entry. By granting its Co-Conspirators a portion

of the “savings” it generates by repricing out-of-network claims, MultiPlan is effectively

sharing profits that it is able to generate only because of the collective participation of the other

members of the conspiracy.

       165.       These payments function as a barrier to entry and a way to raise rivals’ costs.

To acquire market share in the market for claim repricing, a rival would need not only to wait for

the Co-Conspirators’ agreements with MultiPlan to expire, but also to match or exceed the

payments that MultiPlan offers. But rivals are not able to match the payments that MultiPlan pays

to the Co-Conspirators because, unlike MultiPlan, they do not possess market power, and thus

do not have anticompetitive profits to share.

       166.       These numerous high barriers effectively prevent new entrants from

interrupting MultiPlan’s position of control.

       D.      Prior Collusion

       167.       Cours recognize that it is easier for competitors in the same market to conspire

if they have conspired before. Here, as detailed above, many of MultiPlan’s Co-Conspirators

tried a similar scheme by using the UnitedHealth subsidiary Ingenix as the vehicle. There, too,


                                                  40
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 41Page
                                                             of 65 43
                                                                   PageID
                                                                      of 67 #:41




competing health insurance payors were sending detailed information on their out-of-network

claims to a central database that was used to calculate reimbursement rates. UnitedHealth and its

Co-Conspirators agreed to cease utilizing Ingenix and paid large sums toward the creation of the

unbiased database, FAIR Health.

       168.       Shortly after court orders stopped requiring them to use FAIR Health, however,

the Co-Conspirators quickly joined the MultiPlan conspiracy.

       169.       Even though MultiPlan was not itself involved in the Ingenix conspiracy, many

of its Co-Conspirators were. It is plausible to infer that the same players have tried the same

scheme again.

       E.       Opportunities to Collude

       170.       MultiPlan and its Co-Conspirators have ample opportunities to conspire,

including through MultiPlan’s facilitation of private communications among them.

       171.       MultiPlan and its Co-Conspirators frequently meet at Client Advisory Board

meetings and other ad hoc meetings between MultiPlan and its customers to discuss how to

improve their conspiracy’s efficacy in suppressing out-of-network reimbursements to healthcare

providers.

       172.       MultiPlan’s road shows also provided numerous opportunities for MultiPlan

and its Co-Conspirators to conspire. For instance, in 2019, major health insurance executives,

including those from many of the Co-Conspirators, met in Laguna Beach, CA. At this gathering,

MultiPlan executive Dale White professed that “MultiPlan is Magic” and discussed “a few things

up [its] sleeve” that might benefit the insurers.

       173.       The Co-Conspirators also have opportunities to collude by way of their other


                                                    41
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 42Page
                                                             of 65 44
                                                                   PageID
                                                                      of 67 #:42




industry connections. For example, many Co-Conspirators are members of industry associations

such as AHIP (formerly “America’s Health Insurance Plans”). According to AHIP, it “plays an

important role in bringing together member companies and facilitating dialogues to advocate on

shared interests.” Numerous co-conspirator executives hold positions on AHIP’s Board of

Directors, including Gail K. Boudreaux, President and CEO of Elevance; David Cordani,

Chairman and CEO of Cigna; and Maurice Smith, President, CEO, and Vice Chair of HCSC.

Multiple times a year, AHIP hosts conferences, committee meetings, and board meetings in

which its members participate in closed-door meetings. A federal court in California has found

that entities’ overlapping membership in AHIP and participation in AHIP events presented

sufficient opportunities to conspire so as to demonstrate a per se horizontal price-fixing

agreement.

       174.       What’s more, MultiPlan’s repricing databases are themselves an opportunity to

collude, since MultiPlan and the Co-Conspirators effectively use those databases to launder their

price fixing conspiracy. The database is the locus for the exchange of the conspirators’

proprietary information, and it is the basis for generating the identical prices that payors offer to

providers. As detailed above, the Co-Conspirators contribute their claims data to MultiPlan on a

real-time basis, and they receive recommendations from MultiPlan that rest on the data collected

from the Co-Conspirators in that database. Thus, the MultiPlan repricing tools are themselves an

opportunity to collude.

       F.      Actions Against Self-Interest

       175.       Members of the MultiPlan conspiracy have engaged in numerous actions

against their own unilateral self-interests.


                                                 42
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 43Page
                                                             of 65 45
                                                                   PageID
                                                                      of 67 #:43




       176.      In a competitive market, competing insurers would not agree to offer their

proprietary data to facilitate their competitors’ repricing through a common repricing tool.

Instead, a competitive insurance provider would want to capture new insurance business through

increasing its network of providers and, where otherwise appropriate, expand the universe of out-

of-network providers that accept patients with its insurance. Such procompetitive expansions

increase the value proposition of its product to subscribers. While competitive insurers would

still seek to reprice their out-of-network claims using their own proprietary data (and not their

competitors’ data), they would not offer their own proprietary data to assist their competitors,

and they would use repricing tools in procompetitive ways that would not undermine their ability

to bring providers within network or to incentivize providers to take the insurers’ insureds

notwithstanding the providers’ out-of-network status.

       177.      When competitors share their sensitive, proprietary data to implement a

common reimbursement suppressing tool, as they have here, they are able to collectively

maximize profits while shielding themselves from the cost of disputes. They are no longer kept

in line by the worry that their insureds will not be accepted for optional out-of-network care and

can instead blindly and automatically accept lowered claims reimbursement suggestions.

Meanwhile, the providers lose because they are forced into accepting MultiPlan’s take-it-or-leave

it reimbursement offers.

       178.      If a single insurer entered into an agreement with MultiPlan to shift away from

the traditional UCR methodology and drastically underpay out-of-network claims, healthcare

providers would refuse to treat patients subscribing to that insurer. It follows that the insurer

would then experience serious diminishment in the value and breadth of its insurance offerings


                                                43
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 44Page
                                                             of 65 46
                                                                   PageID
                                                                      of 67 #:44




and in its number of subscribers. Moreover, the insurer would have more difficulty recruiting

healthcare providers to its network, further reducing the network’s value and potential earnings.

       179.      The single contracting insurer would also likely be forced to undergo lengthy

and expensive repricing negotiations after facing pushback from providers. But when numerous

insurers enter a conspiracy to reprice claims, it becomes less effective for healthcare providers to

negotiate due to the volume of repriced offers.

       180.      Further, it would be in a given insurer’s interest to develop its own repricing

algorithm based only on its own proprietary data, as UnitedHealth sought to do with Naviguard.

Such individual repricing efforts can give insurers competitive advantages over their rivals. Yet

UnitedHealth, MultiPlan, and the other Co-Conspirators have refrained from doing so, despite

the benefit to their unilateral self-interests, because the conspiracy makes their collective self-

interest—though illegal—more valuable than their unilateral self-interest.

       G.      Information Exchange

       181.      MultiPlan and its Co-Conspirators are unlikely to exchange large volumes of

competitively sensitive information in the absence of an agreement ensuring the others would do

the same.

       182.      But here, MultiPlan and its Co-Conspirators have agreed to exchange non-

public, sensitive, and proprietary data regarding health care providers’ claims, reimbursement

offers made in response to providers’ claims, and the actual amount paid on those claims.

       183.      MultiPlan and its Co-Conspirators’ information exchange is of the type the

courts have recognized as likely to have anticompetitive effects. MultiPlan and its Co-

Conspirators exchange real-time, non-public pricing data by transmitting it automatically to


                                                  44
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 45Page
                                                             of 65 47
                                                                   PageID
                                                                      of 67 #:45




MultiPlan. MultiPlan touts that its analytics-based services are driven by “[p]roprietary and

public data sources.” But the “proprietary” data sources are non-public information that

MultiPlan’s subscribers—insurers that should be competitors—are sharing with one another.

Finally, the shared data is granular and unblinded, meaning MultiPlan knows exactly what these

competitors are charging for medical services.

       184.      The insurer competitors participate in this scheme precisely because their

competitors are doing so, creating common, fixed reimbursement prices between them that are

lower than what the insurers would have to pay absent their collusion via the MultiPlan scheme.

Specifically, MultiPlan is using this proprietary, real-time pricing data to explicitly share

confidential pricing information among members of the conspiracy to fix prices. For example,

when seeking to establish UnitedHealth’s out-of-network reimbursement rates, MultiPlan told

UnitedHealth that prices set at 350% of Medicare rates would “be in line with another

competitor” and “leading the pack along with another competitor.”

       185.      Competing companies would not ordinarily risk sharing their real-time,

competitively sensitive pricing information with their rivals. Moreover, they would not

simultaneously pay those rivals—in this case MultiPlan—millions of dollars absent an agreement

to restrain competition. MultiPlan and its Co-Conspirators’ information exchange is more

consistent with an agreement to restrain trade than with competition on the merits.

       H.      Patterns and Courses of Dealing

       186.      MultiPlan has a long history of forming, maintaining, and stabilizing the

conspiracy.

       187.      MultiPlan boasts that it is “deeply embedded into [its Co-Conspirators’] claims


                                                 45
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 46Page
                                                             of 65 48
                                                                   PageID
                                                                      of 67 #:46




platforms.”

       188.      Moreover, MultiPlan boasts about the long-term nature of its relationships with

its claims repricing clients. In a June 28, 2023, investor presentation, it stated that its “Average

Length of Large Customer Relationships” was over 25 years.

       189.      For over a decade, the leading commercial health insurance providers in the

Relevant Market have been bound to multi-year contracts to use MultiPlan’s claims repricing

tools. MultiPlan’s consistent public statements trumpeting this high level of market participation

and promoting 99% acceptance rates of its reimbursement offers provide encouragement and

reassurance to other members of the conspiracy.

       190.      MultiPlan has effectively taken the lead in recruiting new members to its

conspiracy, espousing the advantages of collusive pricing to them, warning they will suffer a

drastic financial disadvantage if they do not participate in the cartel, and enforcing price

discipline by encouraging members to match their competitors’ repricing standards.

       191.      These customary patterns, formulas, leadership, and other courses of dealing are

circumstantial evidence of agreements and a conspiracy to suppress reimbursement rates.

VIII. Interstate Commerce

       192.      MultiPlan and its Co-Conspirators’ conduct as described herein has

substantially affected interstate commerce. Healthcare providers that MultiPlan and its Co-

Conspirators reimburse for out-of-network health services, such as Plaintiff, provide services,

goods, and facilities to people who reside in many states. MultiPlan and its Co-Conspirators also

operate PPOs throughout the United States. MultiPlan and its Co-Conspirators’ conspiracy comes

within the flow of and intentionally, directly, substantially, and foreseeably affects interstate


                                                 46
      Case:Case
            1:24-cv-06284
                MDL No. 3121
                          Document
                              Document
                                   #: 1 Filed:
                                         95-3 07/24/24
                                               Filed 07/24/24
                                                       Page 47Page
                                                               of 65 49
                                                                     PageID
                                                                        of 67 #:47




commerce in the United States.

IX.     Continuing Violation

        193.      The MultiPlan conspiracy is ongoing, causing harm to Plaintiff and members of

the Class every time they are paid a sub-competitive rate for out-of-network services as a result

of the conspiracy. As such, the conspiracy causes continuing violations against Plaintiff that toll

the statute of limitations.

        194.      Further, MultiPlan and its Co-Conspirators renew their MultiPlan contracts to

strengthen and continue the conspiracy, and these new agreements are continuing violations of

the antitrust laws. These new agreements include the 2022 contract between MultiPlan and

UnitedHealth, which kept the largest commercial health insurer in the conspiracy and ensured

the conspiracy’s survival.

X.      Antitrust Injury

        195.      This conspiracy directly damages Plaintiff’s business and property and restrains

competition in the market for reimbursements for out-of-network healthcare services paid by

commercial payors.

        196.      The underpayments to Plaintiff and members of the Class are an injury of the

type the antitrust laws were intended to prevent. The conspiracy by MultiPlan and its Co-

Conspirators caused Plaintiff and members of the Class to suffer this underpayment injury.

        197.      Plaintiff has sustained and continues to sustain economic losses—the full

amount of which will be calculated after discovery and proven at trial—due to MultiPlan and its

Co-Conspirators’ artificially suppressing the reimbursement rate for out-of-network healthcare

services.



                                                47
      Case:Case
            1:24-cv-06284
                MDL No. 3121
                          Document
                              Document
                                   #: 1 Filed:
                                         95-3 07/24/24
                                               Filed 07/24/24
                                                       Page 48Page
                                                               of 65 50
                                                                     PageID
                                                                        of 67 #:48




        198.     But for the MultiPlan conspiracy to fix the price paid for out-of-network

healthcare services, Plaintiff would have received fair and competitive reimbursements for their

out-of-network healthcare services.

        199.     Moreover, use of MultiPlan’s claim repricing tools to set collusive, artificially

suppressed reimbursement rates subverts the competitive process more generally by depriving

the market of independent centers of decision-making and replacing them with decision-making

on prices by one shared pricing brain. The antitrust laws aim to prevent this anticompetitive

conduct.

XI.     Class Action Allegations

        200.     Plaintiff brings this action on behalf of itself and the following class (“Class”)

of all others similarly situated under Federal Rule of Civil Procedure 23(a) and (b)(3):

               All persons or entities whom one or more of MultiPlan or Co-
               Conspirators, or a division, subsidiary, predecessor, agent, or
               affiliate of such entities, have reimbursed for out-of-network
               healthcare services from no later than July 24, 2020, until MultiPlan
               and its Co-Conspirators’ unlawful conduct and anticompetitive
               effects cease. The class excludes federal and state governmental
               entities and judicial officers presiding over this case.

        201.     The Class is so numerous that joinder of all members in this action is

impracticable. There are thousands, if not millions, of geographically dispersed Class members.

        202.     The Class members can be readily identified and notified in an administratively

feasible manner using, among other information, the Class members’ electronic transactional

records of out-of-network claims reimbursements.

        203.     Plaintiff’s claims are typical of those of the Class. Plaintiff and all Class

members claim that MultiPlan and its Co-Conspirators’ alleged misconduct violates Sections 1



                                                48
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 49Page
                                                             of 65 51
                                                                   PageID
                                                                      of 67 #:49




and 2 of the Sherman Act. Plaintiff and all Class members also allege and will show that the same

anticompetitive and unlawful conduct injured them and caused them to receive reimbursements

for out-of-network claims that were lower than what they would have received absent MultiPlan

and its Co-Conspirators’ collusive conduct.

       204.        Plaintiff will fairly and adequately protect and represent the interests of the

Class members. The interests of Plaintiff and Plaintiff’s counsel fully align with, and are not

antagonistic to, the interests of the Class members. Plaintiff will and can dispatch the duties

incumbent on a class representative to protect the interests of all Class members.

       205.        Plaintiff’s counsel have significant experience successfully prosecuting

complex antitrust class actions, and they possess the resources needed to vigorously litigate the

case to the greatest extent necessary for the Class.

       206.        Legal and factual questions common to the Class and susceptible to proof with

evidence common to all Class members include:

               •    Whether MultiPlan and its Co-Conspirators formed a horizontal
                    agreement, combination, conspiracy, or common understanding
                    in which they artificially suppressed the rate paid on out-of-
                    network healthcare service reimbursement claims throughout the
                    United States;

               •    Whether, in the alternative, MultiPlan and its Co-Conspirators
                    formed a hub-and-spoke agreement, combination, conspiracy, or
                    common understanding in which they artificially suppressed the
                    rate paid on out-of-network healthcare service reimbursement
                    claims throughout the United States;

               •    Whether MultiPlan and its Co-Conspirators’ alleged misconduct
                    constitutes a per se violation of Section 1 of the Sherman Act;

               •    Whether, in the alternative, MultiPlan and its Co-Conspirators’
                    alleged misconduct violates Section 1 of the Sherman Act
                    pursuant to a quick look or full rule of reason analysis;

                                                 49
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 50Page
                                                             of 65 52
                                                                   PageID
                                                                      of 67 #:50




               •    Whether MultiPlan’s conduct violates Section 2 of the Sherman
                    Act;

               •    Whether MultiPlan and its Co-Conspirators’ alleged misconduct
                    in fact caused Class members throughout the United States to
                    receive artificially suppressed reimbursements on out-of-network
                    healthcare service reimbursement claims;

               •    The proper measure of Class-wide damages;

               •    The scope and extent of injunctive relief needed to remedy the
                    anticompetitive effects of MultiPlan and its Co-Conspirators’
                    alleged conduct going forward; and

               •    Whether MultiPlan and its Co-Conspirators fraudulently
                    concealed the existence of the alleged conspiracy or committed
                    continuing antitrust violations beyond the initial conspiratorial
                    agreement, thereby tolling the statute of limitations.

       207.        Legal and factual questions common to Class members will predominate over

any individualized legal or factual questions. MultiPlan and its Co-Conspirators have acted and

refused to act on grounds generally applicable to the Class.

       208.        In cases like this one that allege price-fixing among competitors, including those

with a potential hub-and-spoke component, the common legal and factual question regarding the

conspiracy’s alleged existence by itself has been held to predominate over any possible

individualized issues, thus warranting certification of the Class. That is the case here.

       209.        Class treatment is the superior method for the fair and efficient adjudication of

this controversy. It allows the many Class members to prosecute their common claims, and

Defendants to defend themselves against these claims, in one court simultaneously and efficiently

without the unnecessary duplication of effort and expense presented by separate actions. The

benefits of proceeding with this procedural mechanism, including providing injured people with

a way to obtain redress for claims that may be impracticable for them to pursue individually,

                                                  50
       Case:Case
             1:24-cv-06284
                 MDL No. 3121
                           Document
                               Document
                                    #: 1 Filed:
                                          95-3 07/24/24
                                                Filed 07/24/24
                                                        Page 51Page
                                                                of 65 53
                                                                      PageID
                                                                         of 67 #:51




substantially outweigh any difficulties that may arise in the management of this case as a class

action.

XII.      CAUSES OF ACTION

                                             COUNT ONE
                           Horizontal Conspiracy in Restraint of Trade –
                 Violation of Section 1 of the Sherman Antitrust Act (15 U.S.C. § 1)
          210.      Plaintiff incorporates and realleges, as though fully set forth herein, every

allegation set forth in paragraphs 1-209 of this Complaint.

          211.      To the extent it is necessary to define the relevant markets, the relevant product

market is the market for reimbursement of out-of-network healthcare services, and the relevant

geographic market is the United States and its territories. MultiPlan and its Co-Conspirators

possess market power in the relevant antitrust market.

          212.      Plaintiff seeks monetary and injunctive relief on behalf of itself and all other

Class members under Section 4 of the Clayton Act for conduct in violation of Section 1 of the

Sherman Act.

          213.      MultiPlan and its Co-Conspirators formed and engaged in a continuing contract,

combination, or conspiracy to unreasonably restrain interstate trade and commerce in violation

of Section 1 of the Sherman Act, 15 U.S.C. § 1.

          214.      The contract, combination, or conspiracy alleged herein has consisted of a

continuing agreement among MultiPlan and its Co-Conspirators to knowingly and collectively

use MultiPlan’s repricing tools to set reimbursement rates for out-of-network healthcare services.

This conspiracy has caused Plaintiff and the Class to receive artificially suppressed

reimbursements for out-of-network healthcare services during the class period.



                                                   51
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 52Page
                                                             of 65 54
                                                                   PageID
                                                                      of 67 #:52




       215.      As detailed above, the contract, combination, or conspiracy alleged herein has

taken the form of a horizontal conspiracy among competitors in the United States’ commercial

health insurance market.

       216.      Direct evidence that MultiPlan and its Co-Conspirators agreed to curb out-of-

network reimbursement payments includes (1) express contracts between MultiPlan and its Co-

Conspirators setting forth the collusive conduct at issue; (2) public statements in which MultiPlan

and its Co-Conspirators admit to the existence of these contracts and their knowledge of the Co-

Conspirators’ participation in the same scheme; (3) internal communications among conspirators

that were revealed in other litigation; and (4) MultiPlan’s patent, which describes MultiPlan’s

use of repricing technology to suppress out-of-network reimbursements to healthcare providers.

       217.      To further this contract, combination, or conspiracy, MultiPlan and its Co-

Conspirators have committed various acts, including that:

           •       Co-Conspirators shared real-time, private, confidential, and
                   detailed internal claims data with MultiPlan for use in
                   MultiPlan’s out-of-network claim repricing tools;

           •       MultiPlan sold and operated its out-of-network claim repricing
                   tools that repriced the reimbursement rate for out-of-network
                   healthcare services claims;

           •       MultiPlan and its Co-Conspirators knowingly used the same out-
                   of-network claim repricing tools that incorporated other Co-
                   Conspirators’ real-time, private, confidential, and detailed
                   internal claims data to calculate reimbursement rates for out-of-
                   network healthcare services claims;

           •       MultiPlan and its Co-Conspirators paid reimbursements for out-
                   of-network healthcare services claims at the rates recommended
                   by MultiPlan’s repricing tools;

           •       The Co-Conspirators outsourced out-of-network claims
                   handling to MultiPlan knowing that MultiPlan would set the

                                                52
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 53Page
                                                             of 65 55
                                                                   PageID
                                                                      of 67 #:53




                   reimbursement rate for out-of-network healthcare claims at the
                   rates recommended by its repricing tools;

           •       MultiPlan and its Co-Conspirators exchanged sensitive real-
                   time, private, confidential, and detailed internal claims data with
                   each other, including by using the MultiPlan out-of-network
                   claims repricing tools; and

           •       MultiPlan and its Co-Conspirators used many forms and
                   methods of communication across various settings and venues
                   concerning the reimbursement rate for out-of-network
                   healthcare services claims, including their use of MultiPlan’s
                   out-of-network claim repricing tools, that had the purpose and
                   effect of maintaining and reinforcing their anticompetitive
                   scheme.

       218.      MultiPlan and its Co-Conspirators’ contract, combination, or conspiracy has led

to anticompetitive effects in the form of artificially suppressed reimbursement rates for out-of-

network healthcare services claims that fall far below competitive rates for such claims.

       219.      As a direct and proximate result of MultiPlan and its Co-Conspirators’ past and

continuing violation of Section 1 of the Sherman Act, Plaintiff and the Class have been injured

in their business or property and will continue to be injured in their business and property by

receiving reimbursements for out-of-network healthcare services claims that are far lower than

what they would have received absent the conspiracy.

       220.      There are no procompetitive justifications for MultiPlan and its Co-

Conspirators’ conspiracy, and any proffered procompetitive justifications, to the extent any exist,

could have been achieved through less restrictive means.

       221.      MultiPlan and its Co-Conspirators’ conspiracy is a per se violation of Section 1

of the Sherman Act. In the alternative, MultiPlan and its Co-Conspirators’ conspiracy violates

Section 1 of the Sherman Act under either a quick look or full Rule of Reason analysis.



                                                 53
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 54Page
                                                             of 65 56
                                                                   PageID
                                                                      of 67 #:54




                                             COUNT TWO
                         Hub-and-Spoke Conspiracy in Restraint of Trade –
                 Violation of Section 1 of the Sherman Antitrust Act (15 U.S.C. § 1)
                              (Pled in the alternative to Counts 1 and 3)
          222.      Plaintiff incorporates and realleges, as though fully set forth herein, the

allegations in paragraphs 1-221 of this Complaint.

          223.      To the extent it is necessary to define the relevant markets, the relevant product

market is the market for reimbursement of out-of-network healthcare services, and the relevant

geographic market is the United States and its territories. MultiPlan and its Co-Conspirators

possess market power in the relevant antitrust market.

          224.      In the alternative to Count One, and as detailed above, the contract,

combination, or conspiracy to unreasonably restrain trade and commerce alleged herein has taken

the form of a hub-and-spoke conspiracy in which MultiPlan served as the hub, the agreements

between MultiPlan and its Co-Conspirators to use MultiPlan’s claim repricing tools served as

spokes, and the agreement among the spokes to use MultiPlan’s repricing tools to reprice

reimbursement rates for out-of-network healthcare services claims serve as the rim.

          225.      This conduct violates Section 1 of the Sherman Act.

          226.      Plaintiff seeks monetary and injunctive relief on behalf of itself and all other

members of the Class under Section 4 of the Clayton Act for this violation.

          227.      The contract, combination, or conspiracy alleged herein has consisted of a

continuing agreement among MultiPlan and its Co-Conspirators to knowingly and collectively

use MultiPlan’s repricing tools. This conspiracy has caused Plaintiff to receive artificially

suppressed reimbursements on claims for out-of-network healthcare services during the class

period.

                                                   54
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 55Page
                                                             of 65 57
                                                                   PageID
                                                                      of 67 #:55




       228.      Direct evidence that MultiPlan and its Co-Conspirators agreed to curb out-of-

network reimbursement payments includes (1) express contracts between MultiPlan and its Co-

Conspirators setting forth the collusive conduct at issue; (2) public statements in which MultiPlan

and its Co-Conspirators admit to the existence of these contracts and their knowledge of the Co-

Conspirators’ participation in the same scheme; (3) internal communications among conspirators

that were revealed in other litigation; and (4) MultiPlan’s patent, which describes MultiPlan’s

use of repricing technology to suppress out-of-network reimbursements to healthcare providers.

       229.      To further this contract, combination, or conspiracy, MultiPlan and its Co-

Conspirators have committed various acts, including that:

           •       MultiPlan and its Co-Conspirators shared real-time, private,
                   confidential, and detailed internal claims data for use in
                   MultiPlan’s out-of-network claim repricing tools;

           •       MultiPlan sold and operated its out-of-network claim repricing
                   tools that repriced the reimbursement rate for out-of-network
                   healthcare services claims;

           •       MultiPlan and its Co-Conspirators knowingly used the same out-
                   of-network claim repricing tools that incorporated other Co-
                   Conspirators’ real-time, private, confidential, and detailed
                   internal claims data to calculate reimbursement rates for out-of-
                   network healthcare services claims;

           •       MultiPlan and its Co-Conspirators paid reimbursements for out-
                   of-network healthcare services claims at the rates recommended
                   by MultiPlan’s repricing tools;

           •       The Co-Conspirators outsourced out-of-network claims
                   handling to MultiPlan knowing that MultiPlan would set the
                   reimbursement rate for out-of-network healthcare claims at the
                   rates recommended by its repricing tools;

           •       MultiPlan and its Co-Conspirators exchanged sensitive real-
                   time, private, confidential, and detailed internal claims data with
                   each other, including by using the MultiPlan out-of-network

                                                 55
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 56Page
                                                             of 65 58
                                                                   PageID
                                                                      of 67 #:56




                   claim repricing tools; and

           •       MultiPlan and its Co-Conspirators used many forms and
                   methods of communication across various settings and venues
                   concerning the reimbursement rate for out-of-network
                   healthcare services claims, including their use of MultiPlan’s
                   out-of-network claim repricing tools, that had the purpose and
                   effect of maintaining and reinforcing their anticompetitive
                   scheme.

       230.      MultiPlan and its Co-Conspirators’ contract, combination, or conspiracy has led

to anticompetitive effects in the form of artificially suppressed reimbursement rates for out-of-

network healthcare services claims that fall below competitive rates for such claims.

       231.      As a direct and proximate result of MultiPlan and its Co-Conspirators’ past and

continuing violation of Section 1 of the Sherman Act, Plaintiff and the Class have been injured

in their business or property and will continue to be injured in their business and property by

receiving reimbursements for out-of-network healthcare services claims that are lower than what

they would have received absent the conspiracy.

       232.      There are no procompetitive justifications for MultiPlan and its Co-

Conspirators’ conspiracy, and any proffered procompetitive justifications, to the extent any exist,

could have been achieved through less restrictive means.

       233.      MultiPlan and its Co-Conspirators’ conspiracy is a per se violation of Section 1

of the Sherman Act. In the alternative, MultiPlan and its Co-Conspirators’ conspiracy violates

Section 1 of the Sherman Act under either a quick look or full Rule of Reason analysis.




                                                56
       Case:Case
             1:24-cv-06284
                 MDL No. 3121
                           Document
                               Document
                                    #: 1 Filed:
                                          95-3 07/24/24
                                                Filed 07/24/24
                                                        Page 57Page
                                                                of 65 59
                                                                      PageID
                                                                         of 67 #:57




                                           COUNT THREE
                                  Conspiracy to Restrain Trade –
                Violation of Section 1 of the Sherman Antitrust Act (15 U.S.C. § 1)
                             (Pled in the alternative to Counts 1 and 2)
         234.      Plaintiff incorporates and realleges, as though fully set forth herein, the

allegations in paragraphs 1-233 of this Complaint.

         235.      To the extent it is necessary to define the relevant markets, the relevant product

market is the market for reimbursement of out-of-network healthcare services, and the relevant

geographic market is the United States and its territories. MultiPlan and its Co-Conspirators

possess market power in the relevant antitrust market.

         236.      In the alternative to Counts 1 and 2, and as detailed above, MultiPlan engaged

in a continuing agreement with its Co-Conspirators to unreasonably restrain interstate trade and

commerce in violation of Section 1 of the Sherman Act. Each agreement between MultiPlan and

its Co-Conspirators to outsource the pricing of reimbursements for out-of-network healthcare

services claims to MultiPlan unreasonably restrains trade in violation of Section 1 of the Sherman

Act.

         237.      Plaintiff seeks monetary and injunctive relief on behalf of itself and all other

members of the Class under Section 4 of the Clayton Act for this violation.

         238.      The contract, combination, or conspiracy alleged herein has consisted of

continuing agreements between MultiPlan and its Co-Conspirators to knowingly and collectively

use MultiPlan’s repricing tools to artificially suppress the reimbursement rates for out-of-network

healthcare services claims. This conspiracy has intentionally harmed the market for

reimbursements for out-of-network healthcare services claims by artificially suppressing the

reimbursement rates for out-of-network healthcare services claims and has harmed Plaintiff and

                                                  57
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 58Page
                                                             of 65 60
                                                                   PageID
                                                                      of 67 #:58




the Class by causing them to receive artificially suppressed reimbursements for out-of-network

healthcare services claims during the class period.

       239.      Direct evidence that MultiPlan and its Co-Conspirators agreed to curb out-of-

network reimbursement payments includes (1) express contracts between MultiPlan and its Co-

Conspirators setting forth the collusive conduct at issue; (2) public statements in which MultiPlan

and its Co-Conspirators admit to the existence of these contracts and their knowledge of the Co-

Conspirators’ participation in the same scheme; (3) internal communications among conspirators

that were revealed in other litigation; and (4) MultiPlan’s patent, which describes MultiPlan’s

use of repricing technology to suppress out-of-network reimbursements to healthcare providers.

       240.      To further this contract, combination, or conspiracy, MultiPlan and its Co-

Conspirators have committed various acts, including that:

           •       MultiPlan and its Co-Conspirators shared real-time, private,
                   confidential, and detailed internal claims data for use in
                   MultiPlan’s out-of-network claim repricing tools;

           •       MultiPlan sold and operated its out-of-network claim repricing
                   tools that repriced the reimbursement rate for out-of-network
                   healthcare services claims;

           •       MultiPlan and its Co-Conspirators knowingly used the same out-
                   of-network claim repricing tools that incorporated other Co-
                   Conspirators’ real-time, private, confidential, and detailed
                   internal claims data to calculate reimbursement rates for out-of-
                   network healthcare services claims;

           •       MultiPlan and its Co-Conspirators paid reimbursements for out-
                   of-network healthcare services claims at the rates recommended
                   by MultiPlan’s repricing tools;

           •       The Co-Conspirators outsourced out-of-network claims
                   handling to MultiPlan knowing that MultiPlan would set the
                   reimbursement rate for out-of-network healthcare claims at the
                   rates recommended by its repricing tools;

                                                58
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 59Page
                                                             of 65 61
                                                                   PageID
                                                                      of 67 #:59




           •       MultiPlan and its Co-Conspirators exchanged sensitive real-
                   time, private, confidential, and detailed internal claims data with
                   each other, including by using the MultiPlan out-of-network
                   claims repricing tools; and

           •       MultiPlan and its Co-Conspirators used many forms and
                   methods of communication across various settings and venues
                   concerning the reimbursement rate of out-of-network healthcare
                   services claims, including their use of MultiPlan’s out-of-
                   network claim repricing tools, that had the purpose and effect of
                   maintaining and reinforcing their anticompetitive scheme.

       241.       MultiPlan and its Co-Conspirators’ agreements have led to anticompetitive

effects in the form of artificially suppressed reimbursement rates for out-of-network healthcare

services claims that fall below the competitive rates for such claims.

       242.       As a direct and proximate result of MultiPlan and its Co-Conspirators’ past and

continuing violations of Section 1 of the Sherman Act, Plaintiff and the Class have been injured

in their business or property and will continue to be injured in their business and property by

receiving reimbursements for out-of-network healthcare services claims that are lower than what

they would have received absent these agreements in restraint of trade.

       243.       There are no procompetitive justifications for MultiPlan and its Co-

Conspirators’ agreements, and any proffered procompetitive justifications, to the extent any exist,

could have been achieved through less restrictive means.

       244.       MultiPlan and its Co-Conspirators’ agreements, therefore, violate Section 1 of

the Sherman Act under a Rule of Reason analysis.

                                          COUNT FOUR
                                         Monopolization –
               Violation of Section 2 of the Sherman Antitrust Act (15 U.S.C. § 2)
                          (Pled in the alternative to Counts 1, 2 and 3)
       245.       Plaintiff incorporates and realleges, as though fully set forth herein, the

                                                 59
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 60Page
                                                             of 65 62
                                                                   PageID
                                                                      of 67 #:60




allegations in paragraphs 1-244 of this Complaint.

       246.       To the extent it is necessary to define the relevant markets, the relevant product

market is the market for commercial health insurance repricing, and the relevant geographic

market is the United States and its territories. MultiPlan and its Co-Conspirators possess market

power in the relevant antitrust market.

       247.       In the alternative to Counts 1, 2, and 3, and as detailed above, MultiPlan

possessed monopoly power in the market for commercial health insurance repricing. No other

competitor has been able to restrain MultiPlan’s ability to dominate this market during the

relevant time period. MultiPlan had and has the ability to control commercial health insurance

repricing and excludes competitors.

       248.       MultiPlan willfully and unlawfully maintained its market power in the market

for commercial health insurance repricing by engaging in an anticompetitive scheme to prevent

legitimate competition on the merits. MultiPlan’s monopoly has been maintained by its

anticompetitive misconduct and not as a result of providing a superior product, business acumen,

or historic accident.

       249.       MultiPlan’s course of anticompetitive misconduct, as alleged herein, required

its Co-Conspirators to use MultiPlan’s repricing tool exclusively or nearly exclusively. MultiPlan

has substantially foreclosed the market from actual and potential competition.

       250.       There are no valid procompetitive justifications for MultiPlan’s exclusionary

conduct in the commercial health insurance repricing market. Even if there were (and there are

not), any such ostensible procompetitive benefit could have been obtained through a less

restrictive means.


                                                 60
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 61Page
                                                             of 65 63
                                                                   PageID
                                                                      of 67 #:61




       251.      As a result of this scheme, Plaintiff and Class members received artificially

suppressed reimbursements for the healthcare services they provided. Plaintiff and Class

members have been injured by MultiPlan’s antitrust violations. Such injury is of the type the

antitrust laws were designed to prevent and flows from that which makes MultiPlan’s misconduct

unlawful.

       252.      Plaintiff is the proper entity to bring a case concerning this conduct. The direct

purchasers of MultiPlan’s repricing services—insurers—are all subject to MultiPlan’s control

with respect to out-of-network claims repricing, are MultiPlan’s co-conspirators, and benefit

from the scheme.

       253.      Plaintiff seeks monetary and injunctive relief on behalf of itself and all other

members of the Class under Section 4 of the Clayton Act for this violation.

       254.      MultiPlan’s conduct has led to anticompetitive effects in the form of artificially

suppressed reimbursement rates for out-of-network healthcare services claims that fall below the

competitive rates for such claims.

       255.      As a direct and proximate result of MultiPlan and its Co-Conspirators’ past and

continuing violations of Section 2 of the Sherman Act, Plaintiff and the Class have been injured

in their business or property and will continue to be injured in their business and property by

receiving reimbursements for out-of-network healthcare services claims that are lower than what

they would have received absent MultiPlan’s illegal conduct.

       256.      There are no procompetitive justifications for MultiPlan’s conduct, and any

proffered procompetitive justifications, to the extent any exist, could have been achieved through

less restrictive means.


                                                61
    Case:Case
          1:24-cv-06284
              MDL No. 3121
                        Document
                            Document
                                 #: 1 Filed:
                                       95-3 07/24/24
                                             Filed 07/24/24
                                                     Page 62Page
                                                             of 65 64
                                                                   PageID
                                                                      of 67 #:62




       257.     MultiPlan’s anticompetitive acts violate Section 2 of the Sherman Antitrust Act.

XIII. Request for Relief

       WHEREFORE, Plaintiff, on behalf of itself and the Class of all others similarly situated,

respectfully requests judgment against MultiPlan and its Co-Conspirators as follows:

       A.     The Court determines that this action may be maintained as a class
              action under Rule 23(a) and (b)(3) of the Federal Rules of Civil
              Procedure, appoint Plaintiff as Class Representative and Plaintiff’s
              counsel of record as Class Counsel as separately requested and as
              indicated below, and direct that notice of this action, as provided by
              Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to
              the Class once certified;

       B.     The unlawful conduct, conspiracy, or combination alleged herein be
              adjudged and decreed to violate Section 1 of the Sherman Act;

       C.     Plaintiff and the Class recover damages, to the maximum extent
              allowed under the applicable laws, and that a joint and several
              judgment in favor of Plaintiff and the members of the Class be
              entered against MultiPlan in an amount to be trebled under
              applicable law;

       D.     Plaintiff and the Class be awarded pre- and post-judgment interest
              in the maximum amount and to the maximum extent permitted by
              law;

       E.     Plaintiff and the Class recover their costs of suit and reasonable
              attorneys’ fees to the maximum extent allowed by law; and

       F.     MultiPlan, its affiliates, successors, transferees, assignees, officers,
              directors, partners, agents, and employees thereof, and all other
              people acting or claiming to act on their behalf or in concert with
              them, be permanently enjoined and restrained from continuing,
              maintaining, or renewing the conduct, conspiracy, or combination
              alleged herein, or from entering into any other conspiracy or
              combination having a similar purpose or effect, and from adopting or
              following any practice, plan, program, or device having a similar
              purpose or effect;

       G.     Plaintiff and the Class be awarded any other relief as the case may
              require and the Court may deem just and proper.

                                                62
   Case:Case
         1:24-cv-06284
             MDL No. 3121
                       Document
                           Document
                                #: 1 Filed:
                                      95-3 07/24/24
                                            Filed 07/24/24
                                                    Page 63Page
                                                            of 65 65
                                                                  PageID
                                                                     of 67 #:63




Dated: July 24, 2024                        Respectfully submitted,


                                            /s/_Kathleen C. Chavez
                                            Kathleen C. Chavez, Esq. (#6255735)
                                            Elizabeth C. Chavez, Esq. (#6323726)
                                            Bret K. Pufahl, Esq. (#6325814)
                                            FOOTE, MIELKE, CHAVEZ &
                                            O’NEIL, LLC
                                            1541 E. Fabyan Parkway
                                            Suite 101
                                            Geneva, IL 60134
                                            Tel: 630.232.7450
                                            kcc@fmcolaw.com
                                            kcc@fmcolaw.com
                                            bkp@fmcolaw.com

                                            Bruce E. Gerstein*
                                            David Rochelson*
                                            Deborah Elman (#4305264)
                                            GARWIN GERSEIN & FISHER LLP
                                            88 Pine Street, 28th Floor
                                            New York, NY 10005
                                            Tel: (212) 398-0055
                                            bgerstein@garwingerstein.com
                                            drochelson@garwingerstein.com
                                            delman@garwingerstein.com

                                            David F. Sorensen*
                                            Patrick F. Madden*
                                            Zachary D. Caplan*
                                            BERGER MONTAGUE PC
                                            1818 Market Street, Suite 3600
                                            Philadelphia, PA 19103
                                            Tel: (215) 875-3000
                                            dsorensen@bm.net
                                            pmadden@bm.net
                                            zcaplan@bm.net

                                            Daniel J. Walker*
                                            BERGER MONTAGUE PC
                                            2001 Pennsylvania Avenue, NW, Suite 300
                                            Washington, DC 20006
                                            Tel: (202) 559-9745

                                       63
Case:Case
      1:24-cv-06284
          MDL No. 3121
                    Document
                        Document
                             #: 1 Filed:
                                   95-3 07/24/24
                                         Filed 07/24/24
                                                 Page 64Page
                                                         of 65 66
                                                               PageID
                                                                  of 67 #:64




                                         dwalker@bm.net

                                         Stuart Des Roches*
                                         Andrew Kelly*
                                         Dan Chiorean*
                                         Chris Letter*
                                         ODOM & DES ROCHES LLC
                                         Poydras Center
                                         650 Poydras Street, Suite 2020
                                         New Orleans, LA 70130
                                         Tel: (504) 522-0077
                                         stuart@odrlaw.com
                                         akelly@odrlaw.com
                                         dchiorean@odrlaw.com
                                         cletter@odrlaw.com

                                         Susan Segura*
                                         David C. Raphael*
                                         Erin R. Leger*
                                         SMITH SEGURA RAPHAEL &
                                         LEGER LLP
                                         1111 Bagby Street, Suite 2100
                                         Alexandria, LA 71303
                                         Tel: (318) 445-4480
                                         ssegura@ssrllp.com
                                         draphael@ssrllp.com
                                         eleger@ssrllp.com

                                         D.G. Pantazis, Jr.*
                                         Dennis G. Pantazis*
                                         WIGGINS CHILDS PANTAZIS
                                         FISHER & GOLDFARB LLC
                                         The Kress Building
                                         301 Nineteenth Street North
                                         Birmingham, Alabama 35203
                                         Tel: (205) 314-0557
                                         dgpjr@wigginschilds.com
                                         dgp@wigginschilds.com


                                         Counsel for Plaintiff and the Proposed
                                         Class

                                         *Pro Hac Vice pending

                                    64
Case:Case
      1:24-cv-06284
          MDL No. 3121
                    Document
                        Document
                             #: 1 Filed:
                                   95-3 07/24/24
                                         Filed 07/24/24
                                                 Page 65Page
                                                         of 65 67
                                                               PageID
                                                                  of 67 #:65




                                    65
